Case 6:17-bi<-08022-KS.] Doc 1 Filed 12/28/17 Page 1 of 63

Fiii in this information to identify your case:

 

United Stales Bankruptcy Court for the:

i‘“ii.i§£? EBRLAHBB BiViSiQN"

Middle DistrictofFlon°da
Case"“"“’e"""””"”_~‘~“__-‘Sia§ii{,;?`§aren.mglmend ::;7:£€ 28 PH 3 13
S§:::::::::; eti*éi“§"`§b§g£§§;
Ei Chapteria § fm § amended mir§; an
official Form 101 ”’"

Vo|untary Petition for individuals Fiiing for Bankruptcy

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing aione. A married couple may tile a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separateiy, the form uses Debtor 1 and
Debtor 2 to distinguish between them. in joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in ali of the forms.

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

12/15

identify Yourself

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Oniy in a Joint Case):
‘, 1. Your full name

j Write the name that is on your Calvin

1 government-issued picture . F,

§ identification (for exampie, F"St “aTe "Sf name

§ your driver’s license or AnfOnlO

§ passpolt). Middle name Middle name

1 .

1 Bring your picture Bar°nv'"e

? identification to your meeting Las* name Lasf name

with the trustee.

Suffix (Sr., Jr., ||, |li)

Sufi`lx (Sr., Jr., ii, iii)

 

‘ 2. Aii other names you

have used in the last 8

 

 

 

 

 

 

 

(mN)

First name First name
years
|nc|ude your mam‘ed or Middie name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middle name
Last name Last name
‘ 3. Oniy the last 4 digits of
1 yourSocial Security XXX “ XX ' --Z- -§- -8_ -Q- XXX ' XX _ --- __ _-- _-
number or federal oR 0R
individual Taxpayer 9 9
identification number XX ” XX _W ____ ...._ ___ XX _ XX ~___ ____ ____ ___

 

Offlciai Form 101

Voiuntary Petition for individuals Fiiing for Bankruptcy

page 1

 

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Debtor 1 Caivin

Antonio

Baronvi|ie

 

First Narne Middle Name

Lasl Nan\e

Case number (irhnown)

 

`. 4. Any business names

` and Empioyer
identification Numbers
(EiN) you have used in
the last 8 years

§ include trade names and
1 doing business as names

About Debtor 1:

m | have not used any business names or E|Ns.

About Debtor 2 (Spouse On|y in a Joint Case):

|;l i have not used any business names or E|Ns.

 

Business name

Business name

 

Business name

Business name

 

 

Number Street

 

 

 

Ocoee FL 34761
City State ZiP Code
Orange County

County

if your mailing address is different from the one
above, fill it in here. Note that the court wiii send
any notices to you at this mailing address.

EI_N EiN
W___""“”____ M__'_”"`____

" 5. Where you live if Debtor 2 lives at a different address:
669 Wooster Drive

 

Number Street

 

 

City State Z|P COde

 

County

if Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

Number Street

 

P.O. Box

 

City State ZiP Code

 

e. Why you are choosing
this district to file for
bankruptcy

Check one:

lZ Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district

n | have another reason. Expiain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Number Street

 

P.O. Box

 

City Stale ZiP Code

Check one:

l;l Over the last 180 days before ming this petition,
i have lived in this district longer than in any
other district

El l have another reason. Expiain,
(See 28 U.S.C. § 1408.)

 

 

 

 

 

 

Official Form 101

Vo|untary Petition for individuals Fiiing for Bankruptcy page 2

Debtor 1

Case 6:17-bi<-08022-KS.] Doc 1 Filed 12/28/17 Page 3 of 63

Caivin

Antonlo

BHI`ONV|"€ Case number (rrinown)

 

Flrst blame

Middle Name

Last Name

Tell the Court About Your Bankruptcy Case

7.

10.

11.

 

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Ofticiai Form 101

Check one. (For a brief description of each, see Notice Requi‘red by 11 U.S.C. § 342(b) for lndividuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

EZi Chapter 7

Ei Chapter 11
Cl Chapter 12
Cl Chapter 13

Ei l will pay the entire fee when l file my petition Please check with the clerk’s office in your
local court for more details about how you may pay. Typica|iy, if you are paying the fee
yourse|f, you may pay with cash, cashier’s check, or money order. if your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address

Cl l need to pay the fee in installments. if you choose this option, sign and attach the
App/ication for Ind/'viduals to Pay The Filing Fee in /nstal/ments (Ochiai Form 103A).

IZ l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By lawl a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this option, you must fill out the Applicat/'on to Have the
Chapter 7 Filing Fee Waived (Officia| Form 103B) and file it with your petition

 

 

 

 

 

 

 

w No
l;l Yes. District When Case number
MM/ DD / YYYY
District When Case number
MM/ DD / YYYY
District When Case number
MN|/ DD / Y‘/YY
m No
n Yes. Debtor Relationship to you
District When Case number, if known
MM / DD lYWY
Debtor Relationship to you
Distn'ct When Case number, if known
MM l DD / YYYY
El No. Go to line 12.
m Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

@ No. Go to line 12.

[;l Yes. Fill out /nitial StatementAbout an Eviction Judgment Against You (Form 101A) and file it with
this bankruptcy pelition.

Voluntary Petition for individuals Fiiing for Bankruptcy page 3

 

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Debior 1 CB\Vin Antonio Baronvi|ie
First Name Middle Name Last Name

Case number iirkmwn)

 

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor {Z| No_ Go to pan 4,
of any full- or part-time
business? Ci Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

ac ' , h' ,
LL(c;)'rporation partners ip or Number Street

 

Name of business, if any

 

if you have more than one
sole propn’etorship, use a
separate sheet and attach it
to this pelition.

 

 

City State ZiP Code
Check the appropriate box to describe your business:
i;i Health Care Business (as defined in 11 U.S.C. § 101(27A))
m Single Asset Real Estate (as dehned in 11 U.S.C. § 101 (51 B))
m Stockbroker (as defined in 11 U.S.C. § 101(53A))
l;\ Commodity Broker (as defined iri 11 U.S.C. § 101(6))
Cl None of the above
13. Are you filing under If you are h/ing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines if you indicate th_at you are a small business debtor, you must attach your
Bankruptcy code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtor?
For a dennmon of Sma” m No. l am not filing under Chapter11.
business debtor, 369 12 No. l am filing under Chapter 11, but i am NOT a small business d`ebtor according to the definition in
11 U-S-C- § 101(519)» the Bankruptcy Code.

a Yes. l am hiing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code,

m Report if You 0wn or Have Any Hazardous Property or Any Property That Neecls immediate Attention

 

14. Do you own or have any [Z| No
property that poses or is _
alleged to pose a threat n Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

 

public health or safety?
Or do you own any

property that needs if immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, ora building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZiP Code

Official Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 4

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Debtor 1 Calvm

Antonio Baronvi|ie

 

First Name Middle Name Last Name

Case number (rrknawn)

m Expiain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a brieth about credit
counseling before you die for
bankruptcy. You must
truthfully check one of the
following choices. if you
cannot do so, you are not
eligible to file.

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

53 l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

n l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you me this bankruptcy petition,
you MUST file a copy of the certificate and payment
pian, if any.

13 l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

if the court is satished with your reasons, you must
still receive a briefing within 30 days after you tile.
You must file a certificate from the approved
agencyl along with a copy of the payment plan you
developed, if any if you do not do so, your case
may be dismissed

Any extension of the 130-day deadline is granted
only for cause and is limited to a maximum of 15
days.

i;i l am not required to receive a briefing about
credit counseling because of:

Ei incapacity l have a mental illness or a mental
dehciency that makes me
incapable of realizing or making
rational decisions about finances.

l:i Disability. le physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after i
reasonably tried to do so,

n Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briehng about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Vo|untary Petition for individuals Filing for

About Debtor 2 (Spouse Oniy in a Joint Case):

You must check one:

|;i l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certihcate and the payment
plan, if any, that you developed with the agency,

cl l received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST tile a copy of the certificate and payment
pian, if any

i:i l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days afterl made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the brienng, why
you were unable to obtain it before you filed for
bankruptcy and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfed with your reasons for not receiving a
briefing before you filed for bankruptcy

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

Ei l am not required to receive a briefing about
credit counseling because of:

Ei incapacity l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

Cl Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

Ci Active duty. l arn currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5

 

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Debtor 1 Calvm

Antonio

Baronvi|ie Case number llrknown)

 

Firsl Name

Middle Name

Last Name

m Answer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personall famiiy, or household purpose.”

Ei No. ooloiino 16b.
m Yes. Go to line 17.

16b. Are your debts primarily business debts? Buslness debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

l;i No. Go to line 16c.
n Yes. Go to line 17t

160. State the type of debts you owe that are not consumer debts or business debts.

 

 

11. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

n No. l am not filing under Chapter 7. Go to line 18.

m Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and M No
administrative expenses
are paid that funds will be n Yes
available for distribution
to unsecured creditors? ry _ j j
18. How many creditors do tZi 149 C] 1,000-5,000 El 25,001~50,000
you estimate that you iii 50-99 Ci 5,001-10,000 Ci 50,001-100,000
°We? Ei 100~199 Cl 10,001-25,000 El ivloroinan 100,000
Ci 200-999
19. How much do you lIl $0-$50,000 El $1,000,001~$10 million D $500,000,001-$1 billion

estimate your assets to
be worth?

Cl $50,001-$100,000
EZl $100,001»$500,000
EJ s500,001-si million

 

20. How much do you
estimate your liabilities
to be?

sign below

For you

Official Form 101

Ei so_sso,ooo

E] $50,001-$100,000
ED $100,001-$500,000
iii $500,001~$1 million

ill sio,ooo,ooi-$so million
EJ $50,000,001-$100 million
t] 3100,000,001-$500 million

ij $1,000,000,001-$10 billion
ill slo,ooo,ooo,ool-$so billion
cl More than $50 billion

 

L`.l $1,000,001-s10 million

El $10,000,001-$50 million
El $50,000,001-$100 million
Ei $100,000,001-$500 million

El $500,000,001-$1 billion

|Il $1,000,000,001-$10 billion
El $10,000,000,001-$50 billion
i._.i More than $50 billion

l have examined this petition, and l declare under penalty of perjury that the information provided is true and

correct.

» lfl have chosen to f le under Chapter 7 i am aware that l may proceed, if eiigible, under Chapter 7, 11,12, or 13

of title 11, United States Code. l understand the relief available under each chapter and i choose to proceed

under Chapter 7

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, i have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specided in this petition.

 

l understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case carl t in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U. S,E §§ 52,/13`2¥1, 1519

39/’y j

rrSignature of Debtor 1

Executed on gay g 2 92 195 / 2
MM / D

Vo|untary Petition for individuals Filing for Bankruptcy

  

X

Signature of Debtor 2

 

Executed on
MM/ DD /YYYY

page 6

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Calvin Antonio Baronvi|ie

Filst Name Middle Name Last Name

Debtor 1 Case number iiil<nown)

 

ll the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that l have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that l have no
if you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect

by an attorney, you do not

For your attorney, if you are
represented by one

 

 

 

 

 

 

 

 

need to file this page. x
Date
Signature of Attorney for Debtor MM / DD /YYYY
Printed name
Firm name
Number Street
City State ZlP Code
Contact phone Email address
Bar number State

Offlcial Form 101 Vo|untary Petition for lndividua|s Filing for Bankruptcy page 7

 

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Debtor 1 Calvm

Antonio Baronville

Case number (irknown)

 

First Name Middle Name

For you if you are filing this
bankruptcy without an
attorney

lf you are represented by
an attorney, you do not
need to file this page.

thcia| Form 101

39 l

Last Name

The law allows you, as an individua|, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfu||y. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successfu|, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required documentl pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. lf that happens, you could lose your right to file another
case, or you may lose protectionsl including the benefit cf the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court Even if you plan to pay a particular debt outside of your bankruptcyl you must list that debt
in your schedules. lt you do not list a debt, the debt may not be discharged lf you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. lndividua| bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

lf you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourse|f. To be
successfu|, you must be familiar with the United States Bankruptcy Code, the Federa| Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that app|y,

Are you aware that Hling for bankruptcy is a serious action with long-term financial and legal
consequences?

El No
m Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

E] No
m Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
m No

Ei Yes. Name of Person .
Attach Bankruptcy Petition Preparel’s Notice, Declaration, and Signature (Oflicia| Form 119).

 

By signing here, l acknowledge that l understand the risks involved in filing without an attorney l
have read and understood this notice, and l am aware that hling a bankruptcy case without an
attorneyjrnay cause m“e__to~leje nly/rights or property if l do not properly handle the case.

, y m
// ,.»/:/ i/

  

//`M X

  

 

 

 

 

 

 

 

 

signature of Debtor 1 Signature of Debtor 2
Date y Date
MM/ DD / YYYY
Contact phone (407) 921-1 185 Contact phone
Cell phone Cell phone
Email address CbarOnViiie@Qmaii.COm Email address

 

 

Vo|untary Petition for lndividua|s Filing for Bankruptcy page 8

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Fill in this information to identify your case:

Debtor 1 Qa|yin Antonio Bargnyj|le

Firs\ Name Middle Name Lasl Name

Debtor 2
(SpOUSS, if flil'llg) First Name Mldd'le Name Last Name

 

United States Bankruptcy Court for the: Middle District of Flon'da

 

Case number n CheCK if thiS iS an
""‘“°W") amended filing

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical lnformation 12115

 

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B.' Propelfy (Offlcia| Form 106A/B)

 

1a. Copy line 55, Total real estate, from Schedule A/B .......................................................................................................... $ M-
1b. Copy line 62, Total personal property, from Schedule A/B ............................................................................................... $ 8.905-00
1c. Copy line 63, Total of all property on Schedule A/B ......................................................................................................... $ 34'379_20

 

 

 

m Summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D: Cleditors Who Have Clal`ms Secured by Property (thcial Form 106D)

2a. Copy the total you listed in Co|umn A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ $ M
3. Schedule E/F.' Creditors Who Have Unsecured C/aims (Offlcia| Form 106E/F) 0 00
3a Copy the total claims from Part 1 (prion'ty unsecured claims) from line 6a of Schedule E/F ............................................ $ -~__`
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ....................................... + $ 0 00

 

Your total liabilities s 2661044~00

 

 

 

Summarize Your lncome and Expenses

 

 

4. Schedule /: Your/ncome (Ofncial Form 106l)

Copy your combined monthly income from line 12 of Schedule I .......................................................................................... $ --_--M
5. Schedule J: Your Expenses (Ofncia| Form 106J)
Copy your monthly expenses from line 220 of Schedule J .................................................................................................... $ __5’18§.9_(_)_

Ofliclal Form 1068um Summary of Your Assets and Liabilities and Certain Statistica| lnformation page 1 of 2

Case 6:17-bk-03022-KS.] Doc 1 Filed 12/28/17 Page 10 of 63

Debtor 1 Caivin Antonio Baronvi|ie Case number (irknowni

 

Filst Name Middle Name Last Name

Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
m No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules
m Yes

7. What kind of debt do you have?

M Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
familyl or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes 28 U.S.C. § 159.

cl Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Ofticia|
Form122A-1 Line11;OR,Foml 1228 Line11;0R,Form122C-1 Line14. $ 0.00

 

 

 

l 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim
From Part 4 on Schedule E/F, copy the following:

9e. Domestic support obligations (Copy line 6a.) $.___...____.__.___....Q'p£
9b. Taxes and certain other debts you owe the government (Copy line 6h.) $_,_._________M
Qc. Claims for death or personal injury while you were intoxicated (Copy line 60.) $ 0‘00
9b. slodenl loans. (copy line cf.) $__0;99_
9e. Obligatlons arising out of a separation agreement or divorce that you did not report as $ O_()()

priority claims. (Copy line Gg.) ____""'”‘
9f. Debts to pension or profit-sharing plans. and other similar debts. (Copy line 6h.) + $ _ _ w __ng
99. Toial. A<lo lines 9a through ef. o O-OO

 

 

 

Ofliclal Form 1068um Summary of Your Assets and Liabilities and Certain Statlstical information page 2 of 2

 

Case 6:17-bk-03022-KS.] Doc 1 Filed 12/28/17 Page 11 of 63

Fill in this information to identify your case and this filing:

Debtor 1 Caivin Antonio Baronvi|ie
Firal Name Middle Name Lasl Name

 

Debtor 2
(SpOUSB, if ming) First Name Middle Name l.asl Name

 

United States Bankmptcy Court for the: Middle Di$il'iCi 01 FiOlida

Case number

 

El Check if this is an
amended filing

 

 

Ofliclal Form 106A/B
Schedule A/B: Property lens

ln each category, separately list and describe items. List an asset only once. lf an asset fits in more than one category, list the asset in the
category where you think it fits best Be as complete and accurate as possible. lf two married people are filing together, both are equally
responsible for supplying correct information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

Describe Each Residence, Building, Land, or Other Real Estate Vou own or Have an lnterest ln

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

m No. Go to Part 2.
n Yes. Where is the property?

what ls the property? Check an that app'y‘ Do not deduct secured claims or exemptionsl Put

q Sing|e»family home the amount of any secured claims on Schedule D:

W r Drive ' '
1_1' 669 OOSi€ n Dup|ex or multi_unit building Cred/tors Who Have Clarms Secured by Property.

 

 

 

 

Street address, lf available, or other description _ _ .
4 m C°"d°m'"'um °' °°°Pe'at“'e Current value of the Current value of the
n Manufactured or mobile home entire property? portion you 0wn?
l;l Land $ 302,000.00 $ 25,474.20
i:i investment property
QCOee FL 34761 E| Timeshare Describe the nature of your ownership
C'ty State z'P Code n Other interest (such as fee simple, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one. Fee Simp|e

 

 

Orange County 53 Debtorl 0an
County n Debtor 2 only
0 Debiom and Debtor 2 Oniy L_.l Check lf this ls community property

in At least one of the debtors and another (See ‘nstmctlons)

Other information you wish to add about this item, such as local
property identification number:

 

lf you own or have more than one, list here:

' ')
what is the property ‘ Check all that apply' Do not deduct secured claims or exemptions Put
i;i Single-famlly home the amount of any secured claims on Schedule D:

 

 

 

 

 

 

 

 

1.2. 4 . ' _ n Duplex or multi_unit building Credltors Who Have Claims Secured by Property.
Street address, lf avallable, or other descnptlon ' _ ,
n COndOmlnlum O\’ CCOPGVHNV€ Current value of the Current value of the
\;i l\/lanufactured or mobile home entire property? portion you own?
n Land $ $
i;i investment property f h
. Describe the nature o your owners ip
City State ZlP Code m T'meshare interest (such as fee simple, tenancy by
n Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
a Debtort only
County i:l Debtor 2 only
El Debtor 1 and Debtor 2 only n Check if this is community property
E] At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule AlB: Property page 'i

Case 6:17-bl<-08022-KS.] Doc 1 Filed 12/28/17 Page 12 of 63

 

 

 

 

 

 

 

 

 

Debtor 1 Caivin Antonio Baronville Case number (i,k,,ow,,,
First Name Middle Name Last Name
What is the Pr°l)e"ty? Check all that apply- Do not deduct secured claims or exemptions Put
n S» l ‘fa ~ the amount of any secured claims on Schedule D.'
1.3. mg e m"y h_Om(_e _ _ Creditors Who Have Claims Secured by Property.
Street address, if available, or other description n Duplex or multi-unit building
[] Condominium or cooperative Current value of the Current value of the
entire ro e ? ortion ou own?
n ll/lanufactured or mobile home p p ny p y
Cl Land $ $
n investment property
City State Z‘P Code n Timeshare Describe the nature of your ownership
n interest (such as fee simp|e, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
Cl Debtori only
County

2. Add the dollar value of the portion you own for all of your entries from Part1, including any entries for pages
you have attached for Part 1. Write that number here. ...................................................................................... 9

m Describe Your Vehicles

n Debtor 2 only
ij Debtor1 and Debtor 2 only
n At least one of the debtors and another

m Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

$ 25,474.20

 

 

 

Do you own, |ease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. if you lease a vehicie, also report it on Schedule G.' Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

El No
M Yes
3.1. Make: Ml_et_
iviodei; Avalanche
Year: 2002
250000

Approximate mileage:

Other information:

 

Per www.nada.com

 

 

if you own or have more than one, describe here:

3_2. Make:
Model:
Year:
Approximate mileage:

Gther information:

 

 

Official Form 106A/B

Who has an interest in the property? Check one.
Debtor1 only

n Debtor 2 only

E] Debtor 1 and Debtor 2 only

a At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
n Debtor 1 only

a Debtor 2 only

cl Debtor 1 and Debtor 2 only

n At least one of the debtors and another

a Check if this is community property (see
instructions)

Schedule AIB: Property

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 2,600.00 $ 2,600.00

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Pmperty.

Current value of the Current value of the
entire property? portion you own?

page 2

 

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Who has an interest in the property? Check one.

Debtor 1 Caivin Antonio Baronville
Flrst Name Middle Name
3.3_ Make:
Mode|; [] Debtor 1 only
. a Debtor 2 only
Year'

Approximate mileage:

Other information:

 

 

 

 

3_4. l\/lake:
ll/lodei:
Year:
Approximate mileage:

Other information:

 

 

 

cl Debtor1 and Debtor 2 only
n At least one of the debtors and another

[:l Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtor1 only

m Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

EI Check if this is community property (see
instructions)

Case number (ifknown)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D.'
Cred/'tors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircralt, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vesseis, snowmobiies, motorcycle accessories

m No
ij Yes

4.1_ Make:
ll/iodel:
Year:

Other information:

 

 

 

 

if you own or have more than one, list here:

4_2_ ll/|ake:
Mode|:
Year:

Other information:

 

 

 

5, Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here ........................................................................................................................ ")

Offlclal Form 106A/B

Who has an interest in the property? Check one.
m Debtor1 only

n Debtor 2 only

m Debtor 1 and Debtor 2 only

n At least one of the debtors and another

l;l Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
n Debtor 1 only

Cl Debtor 2 only

n Debtor 1 and Debtor 2 only

L:l At least one of the debtors and another

Ci check ifthis is community property (see
instructions)

Schedule AlB: Property

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

 

$ 2,600.00

 

 

 

page 3

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Debtor 1 Calvm Antomo Baronvl"e Case number (ilknown)
Firsl Name Middle Name Last Name

m Describe Your Personal and Household items

Do you own or have any legal or equitable interest in any of the following items? current value of the

portion you own?
Do not deduct secured claims

 

 

or exemptions
6. Household goods and furnishings
Examples'. i\/lajor appliancesl fumiture, linens, china, kitchenware
Ci No § §
m YGS» Describe --------- f Living room set, dining room set, dishes & cutlery, microwave oven, beds $ 1.850-00
7. E|ectronics
Examp/es: Televisions and radios; audio, videol stereo, and digital equipment; computers, printers, scanners; music
coilections; electronic devices including cell phones, cameras, media players, games
n No § §
m Yes- Des°"`be ---------- 42" color Tv, Lapiop Pc, Androld smariphone $ 1150-00
§ i
8. Collectibles of value
Examples.' Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card coilections; other collections, memorabilia, collectibles
m No § §
n Yes. Describe .......... § l $
l l
l l
9. Equipment for sports and hobbies
Examp/es: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf ciubs, skis; canoes
and kayaks; carpentry toois; musical instruments
m NO § z
L:l Yes. Describe .......... § § $
l l
10. Firearms
Examp/es.' Pistois, ritles, shotguns, ammunition, and related equipment
m No § §
l;l Yes. Describe .......... § $
11.Clothes
Examp/es: Everyday cioihes, furs, leather coats, designer wear, shoes, accessories
n NO § ;
m Yes. Describe .......... § Everyday C|thes & Shoes § $ 500.00
12.Jewelry
Examples: Everydayjeweily, costumejewelly, engagement rings, wedding rings, heirloom jewelly, watches, gems,
goldz silver
m No § §
El Yes. Describe .......... § § $
i
13. Non-farm animals
Examples: Dogs, cats, birds, horses
m No
l l
[J Yes. Describe..........§ § $
§ l
14.Any other personal and household items you did not already iist, including any health aids you did not list
m No
Q Yes. Give specific § § $
information. ............. § §
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 3 500_00
for Part 3. Write that number here .................................................................................................................................................... ')

 

 

 

Official Form 106A/B Schedule AlB: Property page 4

Case 6:17-bl<-08022-KS.] Doc 1 Filed 12/28/17 Page 15 of 63

Debtor 1 Caivin Antonio Baronville Case number (mowm
Flrst Name Middle Name Last Name

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

 

Current value of the
portion you own?
Do not deduct secured claims

 

 

 

 

 

 

 

 

or exemptions
16. Cash
Examp/es: Money you have in your waiiet, in your home, in a safe deposit box, and on hand when you me your petition
No
m Yes .................................................................................................... Cash _____________________ $
17. Deposits of money
Examples: Checking, savings, or other Hnanciai accounts; certificates of deposii', shares in credit unions, brokerage houses,
and other similar institutions. il you have multiple accounts with the same institution, list each.
n No
m Yes ..................... institution namer
17.1. Checking account Fa§rWindS C|`@dit UniOn $ 800.00
17.2. Checking account $
17_3, Savings account Fali'Wll`ldS Cl'edit UniOl'i $ 5.00
17.4. Savings account $
17.5. Certiiicates of deposit $
17.6. Other financial account $
17.7. Other hnanciai aocount: $
17.8. Other financial account $
17.9. Other bnancial acoount: $

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage iirms, money market accounts

mNo

n Yes ................. institution or issuer name:

 

 

 

19. Non-public|y traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

m No Name of entity; % of ownership:

l:l Yes. Give specific
information about
them... ......... %

%

%

thciai Form 106A/B Schedule AlB: Property

 

page 5

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Debtor 1 Calv‘n

Antonio Baronville Case number (”known§

 

First Name

Middle Name LEist Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negofiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

mNo

m Yes. Give specific
information about
them .......................

issuer name:

 

 

 

21. Retirement or pension accounts

Examples: interests in lRA, ERlSA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

m No
m Yes. List each

account separately. Type of account

institution name:
401(k) or similar plan: Fidemy

Pension plan:

2,000.00

 

lRA:

 

Retirement account

Keogh:

 

Additionai account

 

Additional accounts

 

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (eiecln'c, gas, water), telecommunications

companies, or others

m No
L_.l Yes ..........................

institution name or individual:

Eiectric:

 

Gas:

 

Heating oil:

 

Security deposit on rental unit:

 

Prepaid rent

 

Te|ephone:

 

Water:

 

Rented fumiture:

 

Other

 

23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

m No
El Yes ..........................

Officia| Form 106A/B

issuer name and description:

 

 

Schedule AlB: Property

69$€9$69'$$

$69$6969‘99%69€£

page 6

 

Case 6:17-bl<-08022-KS.] Doc 1 Filed 12/28/17 Page 17 of 63

Debtor 1 Calvm Amomo Baronv|"e Case number (irknowni
Flrst Name Middle Name Last Name

24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
ll No

n Yes """"""""""""""""""" institution name and description Separately file the records of any interests.tl U.S.C. § 521(0):

 

 

25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

mNo

§;] Yes. Give specific § §
information about them....§ § $
l

26. Patents, copyrights trademarks, trade secrets and other intellectual property
Examp/es: |ntemet domain names, websites, proceeds from royalties and licensing agreements

mNo

§;l Yes. Give speci&c §
information about them.... § $

§

27. Licenses, franchises,_and other general intangibles
Examples: Building permits, exclusive lioenses, cooperative association holdings, liquor licenses, professional licenses

mNo

n Yes. Give specinc \
information about them....\ $

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you

mNo

C] Yes. Give specific information t

. . § Federal: $
about them, including whether §
you already med the returns § § State:
and the tax years. ....................... § Loca'_

i

29. Family support
Examp/es: Past due or lump sum alimony, spousal support child support, maintenance, divorce settlement. property settlement

mNo

El Yes. Give specinc information .............. §
§ Alimony:

§ $
§ § Maintenance: $
§ § Suppoit: $
§ § Divorce settlements $
§ § Property settlement $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else

m No

§:l Yes. Give specific information ............... § § s
l t

thcial Form 106A/B Schedule AlB: Property page 7

 

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Caivin Antonio Baronville
First Name Middle Name Last Name

Debtor 1 Case number (irknown)

 

31. interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeownefs, or renter’s insurance

mNo

n Yes. Name the insurance company

, _ . Company name: Beneticiary: Surrender or refund value:
of each policy and list its value

 

 

 

32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

m No g
l;l Yes. Give specihc information .............. t l

l t $

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue
m No
§ i

'[;] Yes. Describe each claim. .................... t t

34.0ther contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

ENo

d ‘ § _ , z
a Yes. Describe each claim. .................... § l
§ , $

35.Any financial assets you did not already list

No §
n Yes. Give specihc information ............ § $
i

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here .................................................................................................................................................... 9 $_____2_’§9§_‘9_0_

 

 

 

Describe Any Business-Related Property You Own or Have an lnterest ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
w No. Go to Part 6.
n Yes. Go to line 38.
Current value of the
portion you own?

Do not deduct secured claims
or exemptions

38. Accoun\s receivable or commissions you already earned

El No
a Yes. Describe ....... §

a
t

. W.-,_ .-

39. Office equipment, furnishings, and supplies
Examples: Busiriess-re|ated oomputers, software, modems, printers, copiers, tax machines, rugs, telephones, desks, chairs, electronic devices

m No _
m Yes. Describe ....... l$
; l

x i

Oft"icia| Form 106A/B Schedule AlB: Property page 8

 

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Debtor 1 Caivin Antonio Baronville
Flrst Name Middle Name Last Name

Case number (irknown)

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

m No
C\ Yes. Describe ....... t

 

 

 

 

 

 

 

 

 

 

g I$
t t
41 . lnventory
El No t .
l s
Cl Yes. Describe ....... j v 3$
42.lnterests in partnerships orjoint ventures
CI No
n Yes‘ Describe """" Name of entity: % of ownership:
% $
% $
% $
43. Customer lists, mailing lists, or other compilations
n No
n Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
E\ No g
n Yes. Describe ........ §
l $
l
44.Any business-related property you did not already list
n No
n Yes. Give specific $
information .........
$
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ {)_O()
for Part 5. Write that number here .................................................................................................................................................... 9 ___ ‘

 

 

 

` describe Any Farm- and Commerciai Fishing-Relat'ed Froperty You 0wn or i-iave an interest ln.
lf you own or have an interest in farmland, list it in Part 1.

 

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
w No. Go to Part 7.
l;l Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims

or exemptions
47. Farm animals
Examples: Livestock, poultry, fami-raised fish
Cl No
m Yes ......................... jt §
§ l
l 1 $

Ofliclal Form 106A/B Schedule AlB: Property page 9

 

Case 6:17-bl<-08022-KS.] Doc 1 Filed 12/28/17 Page 20 of 63

Debtor 1 Calvin Antonio Ba ronville
Flrst Name Middle Name Las{ Name

Case number (irknown)

 

48_ Crops--either growing or harvested

UNo

n Yes. Give specific
information ............. $

49. Farm and fishing equipment implements, machinery, fixtures, and tools of trade

Cl No
m Yes ..........................

50. Farm and fishing supplies, chemica|s, and feed

n No
Cl Yes ..........................

51.Any farm- and commercial fishing-related property you did not already list
a No

n Yes. Give specific t f
information. ............ t : $

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that number here ........................ . .............................................. 9

 

0.00

 

Describe All Property You Own or Have an interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already |ist?
Examples: Season tickets, country club membership

m No i §
L_.l Yes` Give specific
information ............. §

t
t

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. ')

0.00

 

List the Totals of Each Fart of this Form

 

55. Part 1: Total real estate, line 2 .............................................................................................................................................................. *) $
56. Part 2: Total vehicles, line 5 $ 2’600'00
57. Part 3: Total personal and household items, line 15 $ 3’500'00
58. Part 4: Total financial assee, sine 36 s 2305-00
59. Part 5: Total business-related property, line 45 $ 0‘00
eo. Part 6: Tocai farm- and fishing-miath property, line 52 $ O-OO

61 . Part 7: Total other property not listed, line 54 + $ 0‘00

62.Total personal property. Add lines 56 through 61. .................... § $ 8’905'00 ;Copy personal property total -) + $

l

25,474.20

__&QO_SL

 

63. Total of all property on Schedule AlB. Add line 55 + line 62 .......................................................................................... $

 

34,379.20

 

Officlal Form 106A/B Schedule AlB: Property

page 10

 

 

 

 

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Fill in this information to identify your case:

Baronville

Last Name

Antonio
Middle Name

Calvin
Flrst Name

Debtor 1

Debtor 2
(Spouse, if t'iling) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: Middle Dlefin Of FlOfida

El check ifihis is an
amended H|ing

Case number
(lf known)

 

 

 

Oflicial Form 1060
Schedule C: The Property You Claim as Exempt

Be as complete and accurate as possible. lf two married people are hling together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B.' Property (Official Form 106AIB) as your source, list the property that you claim as exempt lf more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top cf any additional pages, write
your name and case number (if known).

12/15

 

For each item of property you claim as exempt, you must specify the amount of the exemption you clalm. One way of doing so ls to state a
specific dollar amount as exempt Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds_may be unlimited in dollar amount, However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

ldentify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse /'s f/Iing With you.

w You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
n You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Current value of the
portion you own

Brief description of the property and line on
Schedule A/B that lists this property

Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

 

3.

Copy the value from Check only one box for each exemption.
Schedule A/B
g:;;ri tion_ Homestead Exemption $25,474.20 m $ 25,474.20 222'01; 222'02; 222'03;
Line f:;m ' Cl 100% of fair market value, up to 222'05; Constitution 10'4
Schedule A/B'. B any applicable statutory limit
§;ise;np"on, 401k retirement savings plan $ 2,000.00 m $ 2,000.00 1 1 U'S-C. § 522(b)(3)(C)
. l n 100% of fair market value, up to
l§:,?ef(rj?l;: A/B_. B--- any applicable statutory limit
§;i§;n tim Faiiwindsciedii union $ 805.00 di $ 805.00 COnSfifuinn 104
Line f:;m l Cl 100% of fair market value, up to m re Hawkins’ 51 B'R' 348

Schedule A/B: _B_

any applicable statutory limit

Are you claiming a homestead exemption of more than $155,675?

(Subject to adjustment on 4/01/ 16 and every 3 years after that for cases filed on or after the date of adjustment.)

MNo

l;l Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

g No
EI Yes

Ofiicial Form 106C

Schedule C: The Property You Claim as Exempt

 

page 1 of __

Debtor 1

Calvin

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Antonio

Baronville

 

F|rst Name

Middle Name

Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B:

Official Form 106C

Last Name

Current value of the
portion you own

Case number (r/known)

Amount of the exemption you claim

Check only one box for each exemption

 

El 100% affair market value, up to
any applicable statutory timit

 

n 100% of fair market value, up to
any applicable statutory limit

 

l;l 100% of fair market value, up to
any applicable statutory limit

 

 

[.] 100% of fair market valuel up to
any applicable statutory limit

 

n 100% of fair market value, up to
any applicable statutory limit

 

m 100% of fair market value, up to
any applicable statutory limit

 

 

n 100% of fair market value, up to
any applicable statutory limit

 

a 100% of fair market value, up to
any applicable statutory limit

 

 

n 100% of fair market value, up to
any applicable statutory limit

 

 

l;l 100% of fair market value, up to

 

m 100% of fair market value, up to
any applicable statutory limit

Copy the value from
Schedule A/B

Everyday clothes & shoes $ 500_00 ij $ 500.00
B_

Vacuum cleaner $ 100.00 q $ 100.00
§___

Samsung smartphone $ 500.00 M $ 500.00
_B_

Laptop PC $ 400.00 M $ 400.00
§____

42" color TV $ 250.00 M $ 250.00
.|.3.___

Twin bed $ 150.00 55 $ 150.00
B_

Full sized bed $ 300.00 M $ 300.00
B_

Microwave oven $ 50.00 M $ 50.00
_13___

Dishes & cutlery $ 50,00 M $ 50.00
B__

Dining room set $ BO0.00 M $ 600.00
B""'“ any applicable statutory limit
Living room set $ 600.00 ij $ 600.00
B_

Chevrolet Avalanche $ 2,600.00 w $ 2,600.00

 

B___

 

l;l 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property Vou Claim as Exempt

Specific laws that allow exemption

222.25

 

Constitution 10-4;
|n re Hawkins, 51 B.R. 348
(S.D. Fla. 1985)

 

222.25

 

Constitution 10~4;
ln re Hawkins, 51 B.R.
(S.D. Fla. 1985)

348

 

Constitution 10-4;
ln re Hawkins, 51 B.R.
(S.D. Fla. 1985)

348

 

Constitution 10-4;
ln re Hawkins, 51 B.R.
(S.D. Fla. 1985)

348

 

Constitution 10-4;

ln re Hawkins, 51 B.R.
(S.D. Fla. 1985)

348

 

Constitution 10-4;
ln re Hawkins, 51 B.R.
(S.D. Fla. 1985)

348

 

Constitution 10-4;
ln re Hawkins, 51 B.R.
(S.D. Fla. 1985)

348

 

Constitution 10-4;
ln re Hawkins, 51 B.R.
(S.D. Fla. 1985)

348

 

Constitution 10-4;
ln re Hawkins, 51 B.R.
(S.D. Fla. 1985)

348

 

Constitution 10-4;
ln re Hawkins, 51 B.R.
(S.D. Fla. 1985)

348

 

page __ of __

 

Case 6217-bl<-08022-KS.] DOC 1 Filed 12/28/17

Fill in this information to identify your case: ‘

Debtor 1 §§alvin

First Name

Antonio

Middle Name Last Name

Debtor 2
(Spouse, it filing) Firsi Name

 

Midde Name Last Name

united states Bankruptcy couri for inez Middle District of Flon‘da

Case number
(|f known)

 

 

 

OffiCia| Form 106D

 

Page 23 of 63

El cheek ii this is en
amended filing

Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. lf two married people are filing together, both are equally

responsible for supplying correct

12I15

information. lf more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (lf known).

1. Do any creditors have claims secured by your property?

n No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.

w Yes. Fill in all of the information below.

List All Secured Claims

 

 

Column A Column B
2. List all secured claims. lf a creditor has more than one secured claim, list the creditor separately Amount of claim Value of collateral
for each clalm. lf more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct me that Supp°ns this
As much as possible, list the claims in alphabetical order according to the creditors name. value ofcoiiaierai` claim

Column C

Unsecured y
portion §
lf any `

 

 

 

 

 

 

 

 

 

 

 

:| NationsStar Mortgage, LLC Describe the property that secures the claim: $ 255’044'00 $ 302»000'00 $ 0'00 t
_, Creditors Name _ _ j
8950 Cypress Waters B[Vd (Primary residence) 669 Wooster Drive
` Number Street Ocoeei F|- 34761,__,.,..,
As of the date you file, the claim is: Check all that apply.
a Contingent
j Coppell TX 75019 51 unliquidated
§ Clty State ZlP Code n Disputed
Wh° owes the debt? Che¢k One~ Nature of lien. Check all that app|y.
q Debtor1 only w An agreement you made (such as mortgage or secured
m Debtor 2 only car loan)
n Debtor1 and Debtor 2 only m Statutory lien (such as tax tien, mechanlc's lien)
m At least one of the debtors and another n Judgme"f lien from a lawsuit
n Other (including a right to offset)
El Check if this claim relates to a
community debt
y Date debt was incurred 03/01/201£ Last4 digits of account numberr_é_ __9__ __:_3_ ~2__
M MCCOrmiCk Woods HOA, tnc_ Describe the property that secures the ctaim: $ 11»(-)00~00 $ $ 1 1i000-00

 

 

 

 

Creditors Name

4700 Millenia Blvd., Suite 515
Number Street

Or|ando FL 32839
City State ZlP Code

Who owes the debt? Check one.

q Debtor1 only

n Debtor 2 only

l a Debtor1 and Debtor 2 only

n At least one of the debtors and another

U Check if this claim relates to a
community debt

Date debt was incurred 03/01/201€

 

Homeowners Association Fees

As of the date you file, the claim is: Check all that apply.
[:l Contingent

EZ uniiquidaied

m Disputed

Nature of lien, Check all that apply.

q An agreement you made (such as mortgage or secured
car loan)

m Statutory lien (such as tax lien, mechanic’s lien)

m Judgment lien from a lawsuit

a Other (including a right to ottset)

Last4digits ofaccount number_‘_t_ __5_ __6_ _8

Add the dollar value of your entries in Co|umn A on this page. Write that number here:

Officlal Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

 

E___M~Ml

page 1 of

t

 

Debtor.i

Case 6:17-bl<-08022-KS.] Doc 1 Filed 12/28/17 Page 24 of 63

Baronville
Last Name

Antonio
Middle Name

Caivin

First Name

Case number (ifknown)

List others to ae Notiried for a bent That Yeu Aiready Lieied

` Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, ita collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. lf you do not have additional persons to
be notified for any debts in Part 1, do not fill outer submit this page.

t\’
`i

!°
on

.N
to

Official Form 106D

Dan Cummins

 

 

 

 

Name

8950 Cypress Waters Blvd

Number Street

Coppell TX 75019
ciiy state ziP code

Circuit Court of the 9th Judicial Circuit, Orange Co., Florida

 

Name

425 N. Orange Avenue

 

 

 

 

 

 

 

Number Street

Orlando FL 32801
city stare ziP code
Scot Peschansky, Esq.

Name

6501 Congress Avenue, Suite 240

Number Street

Boca Raton FL 33487
city stare zii= code

USA on Behalf of Secretary of Housing & Urban Develop.

 

Name

400 N. Tampa Street, Suite 3200

 

 

 

 

 

 

 

 

 

 

 

Number Street

Tampa FL 33602
city stare ziP code
l\/larinosci Lavv Group, P.C.

Name

100 West Cypress Creek Road, Suite 1045

Number Street

Fort Lauderdale FL 33309
city state zii= code
Name

Number Street

City State ZlP Code

Part 2 of Schedule D: Creditors Who Have Claims Secured by Property

21

On which line in Part 1 did you enter the creditor? '

Last4 digits of account number _4 _9 _3 _2

On which line in Part 1 did you enter the creditor? 2-1
Last 4 digits of account number__‘_t_ __2_ _7 _O

On which line in Part1 did you enter the creditor? 2-1
Last4 digits of account number_4 __2__ __7_ _O

On which line in Part1 did you enter the creditor? 2-1
Last4 digits of account number_i l __7_ _9_

On which line in Part1 did you enter the creditor? 2-1

Last 4 digits of account number__f_t__ _2 _7 _Q

On which line in Part1 did you enter the creditor?

Last 4 digits of account number

page _____ of

 

Case 6:17-bl<-08022-KS.] Doc 1 Filed 12/28/17 Page 25 of 63

Debtor1 Calvin Antonio Baronville Case number (i/i,mwn>
Flrst Name Middle Name Last Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Additional Page §O/Umn/\f l i (\:lO/:lmn? ll t l golumn Cd
. . . . . . . mount o c a m a ue o co a era nsecure
After listing any entries on this page, number them beginning with 2.3, followed Do not deduct the that supports this portion
by 2-4» and 30 forth value of collateral ¢\aim lf any
. Describe the property that secures the claim: $ $ $
Creditor’s Name _`,,
Number Street
As of the date you file, the claim is: Check all that apply.
a Contingent
city state ziP code C.l unliquidated
` m Disputed
Who OWGS the debf? Check One. Nature of iien. check eli that appiy.
cl Debtor1 901¥ n An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
l;] Debtor 1 and Debtor 2 oniy l:l Statutory'|ien (such as tax lien, mechanic’s lien)
n At least one of the debtors and another n Wdeth lien from a lawsuit
El other (ineiuding a right to oirset)
Cl check if this ciaim relates to a
community debt
§ Date debt was incurred Last 4 digits of account number_ __ _____~ ____
2.4 l _
. Describe the property that secures the claim: $ $ $
Creditor‘s Name
Number Street
As of the date you file, the claim is: Check all that apply.
U Contingent
El unliquidated
City State ZlP Code n Disputed
§ Who owes the debt? Check one` Nature of llen. Check all that appiy.
§ n Debtor 1 only cl An agreement you made (such as mortgage or secured
a Debtor 2 only ear loan)
n Debtor1 and Debtor 2 Only l:l Statutory lien (such as tax lien, mechanic’s lien)
n At least one of the debtors and another n Judgment lien from a lawsuit
i;l Check if this claim relates to a n Other emmde a nght to offset)
community debt
Date debt was incurred Last 4 digits of account number___ ___~ __ _
' 2.5 l `
. Describe the property that secures the claim: $ $ $

Creditors Name

 

 

 

 

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
m Contingent
city State ziP code [] unliquidated
cl Dispuied
Who °WeS the debf? Check One- Nature of lien. Check all that apply.
m Debtor 1 0an L_.l An agreement you made (such as mortgage or secured
l;l Debtor 2 only car loan)
l;| Debtor1 and Debtor 2 oniy Cl Statutory lien (such as tax lien, mechanic’s lien)
m At least one of the debtors and another n Judgm€m lien from a lawsuit
EJ other (ineiuding a right to arisen
l;l Check it this claim relates to a

community debt

Date debt was incurred Last 4 digits of account number___

Add the dollar value of your entries in Column A on this page. Write that number here:

|f this is the last page of your form, add the dollar value totals from all pages.
Write that number here:

 

Officia| Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page ~_ of

 

Case 6:17-bl<-08022-KS.] Doc 1 Filed 12/28/17 Page 26 of 63

Fill in this information toridentiiy your case:

 

 

 

gebior 1 Calvin Antonio Baronville

First Name Middle Name Last Name
Debtor 2
(Spouse, iffiling) Firsi Name Middle Name Last Name

United States Bankruptcy Court for the: Middle Dlel'in Of Florida

12 check ii this is an

C .
ase number amended hian

(lf known)

 

 

Ofliclal Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims 12115

Be as complete and accurate as possible. Use Part 1 for creditors with PRlORlTY claims and Part 2 for creditors with NONPR|OR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106AIB) and on Schedule G: Executoiy Contracts and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Froperty. lf more space is
needed, copy the Part you need, fill it out, number the entries ln the boxes on the left Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

List All of Your FR|CR|TY Unsecured Claims

 

j 1. Do any creditors have priority unsecured claims against you?
m No. Go to Part 2.
m Yes.
2. List all of your priority unsecured claims. lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is, lf a claim has both priority and nonpliority amounts, list that claim here and show both priority and

nonpriolity amounts. As much as possible, list the claims in alphabetical order according to the creditor“s name. lf you have more than two priority
unsecured claims, fill out the Continualion Page of Part 1. |f more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklel.)

 

 

 

 

 

 

 

 

 

 

 

 

Total claim Priority Nonpriority
amount amount
2.1
Last 4 digits of account number ____ ~___ _ _ $ 5 $
Priority Creditor‘s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that appiy.
city State ziP code n C°"ti"ge"t
_ 7 El unliquidated
Who incurred the debt. Check one. m Disputed
m Debtor1 only
Cl Debtor 2 only Type of PRlORlTY unsecured claim:
g Debtor1 and Debtor 2 only m Domestic support obligations
At !east one of the debtors and another l:l Taxes and certain other debts you owe the government
a Check 'f mls cla'm is for a commumty debt n Claims for death or personal injury while you were
ls the claim subject to offset? '“t°X'°ated
l;| No n Other. Specify
`[;l Yes
|2'2 l Last4 digits of account number ___~ ___ _ _ $ $ $

Pn`orily Creditors Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

Lj Debtor1 only

l:.l Debtor 2 only

l;l Debtor 1 and Debtor 2 only

n At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?

n No
m Yes

Officia| Form 106ElF

Schedule EIF: Creditors Who Have Unsecured Claims

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
n Contingent

Cl unliquidated

m Disputed

Type of PRlORlTY unsecured claim:
n Domestic support obligations
cl Taxes and certain other debts you owe the government

l:l Claims for death or personal injury while you were
intoxicated

L`.] other specify

 

page 1 of _‘_’;__

Case 6:17-bl<-08022-KS.] Doc 1 Filed 12/28/17 Page 27 of 63

Antonio
Middle Name

Calvin

First Name

Debtor 1

Baronville
Last Name

Case number (irknowni

Your PRloRlTv unsecured claims - continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

 

 

 

 

Priority Creditors Name
Number Street
City State ZlP Code

Who incurred the debt? Check one

m Debtor1 only

m Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

l;l Check if this claim is for a community debt

ls the claim subject to offset?

 

 

 

 

n No

n Yes

Priority Creditors Name

Number Street

City State ZlP Code

Who incurred the debt? Check one.

n Debtor 1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

l;l At least one of the debtors and another

L'.l check ir this claim is fora community debt

ls the claim subject to offset?

n No
a Yes

N
01

 

Priority Creditors Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

n Debtor 2 only

a Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

m No
n Yes

Ofliclal Form 106E/F

Total claim Priority

amount

Last 4 digits of account number $ 5

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Cl Contingent
Cl unliquidated
n Disputed

Type of PRlORlTY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

U UUU

 

Nonpriority
amount

 

 

Last 4 digits of account number $ $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

m Contingent
lIl unliquidated
a Disputed

Type of PRlORlTY unsecured claim:

l:] Domestic support obligations
|:] Taxes and certain other debts you owe the government

a Claims for death or personal injury while you were
intoxicated

Cl other. Speciry

 

Last 4 digits of account number 5 $

When was the debt incurred?

As of the date you file, the claim is: Check all that app|y.

n Contingent
El unliquidated
El Disputecl

Type of PRlORlTY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

U DUU

 

Schedule E/F: Creditors Who Have Unsecured Claims

page l Of A_

 

Case 6:17-bl<-08022-KS.] Doc 1 Filed 12/28/17 Page 28 of 63

Debtor 1 §_a]vin Antonio Baronville
Ftrst Name Middle Name Last Name

List All of Your NONPR|OR|TY Unsecured Claims

Case number (ifkndwn)

 

3. Do any creditors have nonpriority unsecured claims against you?

n Noi You have nothing to report in this part Submit this form to the court with your other schedules

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lt more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

claims Hll out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

Total claim

Enhanced ReCOVerY Corp‘ Last 4 digits of account number£ _§__ _§ ___Q_ 180 00
4 Nonpriority Creditors Name $___..._..`__..___

4800 Spring Park Road When was the debt incurred? 1/30/2014

Number Street

Jacl<sonville FL 32207

city state zlP code As of the date you file, the claim is: Check all that apply.

l;l Contingent

Who incurred the debt? Check one. unliquidated

m Debtor 1 only l;l Disputed

m Debtor 2 only

E] Debtor 1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim:

n At least one of the debtors and another ij Student ioelns

C] Check ii iiiiS ciaim iS for a community debt El Ob|igalions arising out of a separation agreement or divorce

that you did not report as priority claims

ls the claim subject to offset? C\ Debts to pension or proflt-shan‘ng plans, and other similar debts

m N° 51 othei. specify Cable or cellular

l;l Yes
4~2 l Last4 digits of account number __ ___ ____ _____ $

Nonpriority creditors Name When was the debt incurred?

Number Street

As of the date you file, the claim is: Check all that apply.

City State ZlP Code n Contingent

Who incurred the debt? Check one. m U""quidafed

n Debtor 1 only n D'Sputed

El Debtor 2 only _

n Debtor 1 and Debtor 2 only Type of NCNPRIOR|TY unsecured claim:

n At least one of the debtors and another a Student loans

_ _ _ _ _ n Ob|igations arising out of a separation agreement or divorce

n Check rf this claim ls for a community debt mai you did not report as priority ciaims

is the ciaim sum-eci to offset? Cl Debts to pension or proflt~shan'ng plans, and other similar debts

i___i No El other. specify

m Yes
Last 4 digits of account number _ _ _ __

Nonpriority creditors Name $

 

Number Street

 

City State ZlP Code

Who incurred the debt? Check one.

n Debtor 1 only

n Debtor 2 only

E] Debtor 1 and Debtor 2 only

E\ At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?
m No
a Yes

Ofliclal Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

cl Contingent
Cl unliquidated
n Disputed

Type of NONPRlORlTY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

l:l Debts to pension or profit-sharing plans, and other similar debts

El other specify

 

pagel Of4__

 

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Debtor 1 (}alm'n Agjgm'g Ba[gm[|||g Case number (irknown)
Flrst Name Middle Name Last Name

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim,

 

 

 

 

 

Total claim
Total ciaims 6a. Domestic support obligations 6a. $ O_OO
from Part1 6b. Taxes and certain other debts you owe the
government 6b. $ 0.0G
6c Claims for death or personal injury while you were
intoxicated 60. $ 0.00
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. + $ O_OO
6e. Tota|. Add lines 6a throu h 6d. 6a.
g $ 0.00
Total claim
Total ciaims 6f. Student loans 6i. $
from Part 2 Bg. Obligations arising out of a separation agreement
or divorce that you did not report as priority 0 00
claims 69. $____~_
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. $ 0.00
6i. Other. Add all other nonpriority unsecured claims
Write that amount here. 6i. + 5 0-00
61. Total. Add lines 6f through 61. 61. $ 0_00

 

 

 

~ . - 4 4
Ofliclal Form 106E/F Sch%tci>ii\ivea El§b Creglitgli:szi§éh]pnl|-i% UrM§`c(-):grtriired Claims page ___ of _____

re WE |'€ O

 

Case 6:17-bl<-08022-KS.] Doc 1

7 Fill in this information to identify your case:

Antonio
Middle Name

Calvin

First Name

Debtor 1

Debtor 2

Baronville

Last Name

 

(Spouse, if hling) First Name Middle Name

Last Name

United States Bankruptcy Court for ther Middle DiStriCt of Florida

Case number

 

(If known)

Official Form 106H

 

 

Schedule H: Your Codebtors

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. Orl the top of any Additional Pages, write your name and

case number (if known). Answer every question.

Filed 12/28/17

Page 30 of 63

ill check if this le en
amended Hling

12I'l5

1. Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.)

m No
Cl Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and ten'itories include
Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wlsconsin.)

n No. Go to line 3.

m Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

|;lNo

n Yes. ln which community state or territory did you live?

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State

ZlP Code

. Fill iri the name and current address of that person.

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Ofticia| Form 106D), Schedule E/F (Officia| Form 106ElF), or Schedule G (Official Form 106G). Use Schedule D,

Schedule E/F, or Schedule G to till out Column 2.

Column 1: Your ccdebtor

 

3.1

 

 

 

 

Name

 

Number Street

 

City State

 

3.2

 

 

 

ZlP Code

 

Name

 

Number Street

 

C|ly State

 

3.3

 

 

 

ZlP Code

 

Name

 

Number Street

 

City State

Official Form 106l-l

ZlP Code

Schedule H: Your Codebtors

Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

El Schedule D, line
E] schedule E/F, line
Cl Schedule G, line

Cl Schedule D, line __
El schedule E/F, line
El Schedule G, line

Cl Schedule D, line
L:l Schedule E/F, line
El Schedule G, line

page 1 of___

 

Case 6:17-bl<-08022-KS.] Doc 1 Filed 12/28/17 Page 31 of 63

Fill in this information to identify your case:.

 

 

Debtor 1

First Name Middle Name Last Name
Debtor 2
(SpOuSe, ifnllng) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle Districl Of Florida

Case number Check if this iSI

(lfknown)
l:l An amended hling

Cl A supplement showing postpetition chapter 13
income as of the following date:

Official Form 106| …““
Schedule l: Your lncome iz/ie

Be as complete and accurate as possible. |f two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing jolntly, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fill in your employment _
information Debtor 1 Debtor 2 or non-filing spouse

 

 

 

 

lf you have more than onejob,
attach a separate page with
information aboui additionai Employment status l;l Employed [.] Employed

employers. w Not employed |;l Not employed
include part-time, seasonal, or

self-employed work.
Occupation N/A

 

Occupation may include student
or homemaker, if it applies

Employer’s name N/A

Employer’s address N/A

 

 

 

 

Number Street Number Street

N/A

N/A

N/A

City State ZlP Code City State ZlP Code

How long employed there? N/A

Give Details About Monthly income

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $O in the space. include your non-filing
spouse unless you are separated

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. lf you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). lf not paid monthly, calculate what the monthly wage would be. 2. $ 0_00 $
3. Estimate and list monthly overtime pay. 3_ + $ 0.00 + $
4. Calcu|ate gross income. Add line 2 + line 3. 4. $ 0~00 $ 0»00

 

 

 

 

 

Official Form 106| Schedule l: Your income page 1

 

Debtor 1 n Case number irrkncwn)
FirstName Middle Name LastName
For Debtor 1 For Debtor 2 or
Copy line 4 here ............................................................................................... ') 4. $ 000 $ O'GO
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a $ 0.00 $
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $
5c. Vo|untary contributions for retirement plans 5c. $ 0.00 $
5d. Required repayments of retirement fund loans 5d. $ 0.00 $
5c. insurance 5c. $ 0.00 $
5f. Domestic support obligations 5f. $ 0-00 $
59. Union dues 59. $ 0'00 $
5h. Other deductions Specify: 5h. + $ 0.00 + $
6. Add the payroll deductions. Add lines 5a + 5b + 50 + 5d + 5a +5f+ 59 + 5h. 6. $ 0.00 $ 0.00
7. Calcu|ate total monthly take-home pay. Subtract line 6 from line 4. 7 $ 0-00 $ 0-00
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Altach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0 00 $
monthly net income. 8a. '
8b. interest and dividends 8b. $ 0.00 $
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal support, child support, maintenance, divorce $ 0 00 $
settlement and property settlement 8c. `
8d. Unempioyment compensation 8d. $ O-OO $
8e. Social Security 8c. $ 0.00 $
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benetits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: 8f. $ 0.00 $
89. Pension or retirement income 89. $ 0.00 $
Bh. Other monthly income. Specify: 8h. + $ 0.00 + $
s. Add all other income Add lines 83 + 6b + 80 + 6d + 8c + 8f +8§ + 8h. 9 $ 0.00 $ 0.00
10.Calcuiate monthly income. Add line 7 + line 9. 0 00 0 00 _ 0 00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse, 10. $_-_'_ $ ` -` $ `
11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents your roommates, and other
friends or relatives. ~
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: ii. + $____M
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 0 00
Write that amount on the Summary of YourAssets and Liabill'tl`es and Certain Statisfical Infonnation, if it applies 12. $___..__'..__.
Combined

Case 6:17-bl<-08022-KS.] Doc 1 Filed 12/28/17 Page 32 of 63

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

13. Do you expect an increase or decrease within the year after you file this form?

Official Form 106l

w No.

monthly income

 

El Yes. Expiain:

 

 

Schedule l: Your income

page 2

 

 

 

 

Case 6:17-bk-08022-KS.] Doc 1 Filed 12/28/17 Page 33 of 63

Fill in this information to identify your case:

Debtor1 Q_alvin Antonio Baronv` t - ~ .
First Name Middle Name ll|£st Name Check if this lS.

Debtor 2 .
(Spouse, iffrling) FirstName image Name Lasrmme n All amended filing

El A supplement showing postpetition chapter 13
expenses as of the following date:

 

United States Bankruptcy Court for the: Middle DiStll`Ct Of Florida

Case number MM / DD/ YYY¥
(|fknown)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Describe Your Household

1. is this a joint case?

 

EZl No. co to line 2. v
Cl Yes. Does Debtor 2 live in a separate househoid?

[] No
ij Yes. Debtor 2 must file Of&ciai Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

2. Do you have dependents? m No .
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and M Yes. Fill out this information for Debtor 1 or Debtor 2 age Wifh V°U?
Debtor 2. each dependent .......................... n
Do not state the dependents SOn 10 w NO
names. Yes
l;\ No
n Yes
|;l No
n Yes
Cl No
Cl Yes
El No
|;l Yes
3. Do your expenses include m No

expenses of people other than
yourself and your dependents? n Yes

Estimate Your ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non»cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Ofticiai Form 106i.) Y°u" expenses

 

4. The rental or home ownership expenses for your residence. include first mortgage payments and 1 986 00…

any rent for the ground or lot. 4. $

if not included in line 4:

4a Real estate taxes 4a $ 0.00
4b. Property, homeowner’s, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repairl and upkeep expenses 4c. $ 100.00
4d. Homeowner’s association or condominium dues 4d. $ 100-00

Official Form 106J Schedule J: Your Expenses page 1

 

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Debtor1 Calvin Antonio Baronville

First Name Middle Name Last Name
5, Additional mortgage payments for your residence. such as home equity loans
6. Utiiities:

6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

ec. Telephone, cell phone, internet, satellite, and cable services
6d. Other. Specify:

 

 

 

 

 

 

Case number <rfknown)

7. Food and housekeeping supplies
8. Chi|dcare and children’s education costs
9. Clothing, laundry, and dry cleaning
10. Personai care products and services
11. Medicai and dental expenses
12. Transportation. include gas, maintenance, bus or train fare.
Do not include car payments
13. Entertainment, clubs, recreation, newspapers, magazines, and books
14. Charitable contributions and religious donations
15. lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance
15b. Heaith insurance
15c. Vehicle insurance
15d. Other insurance. Specify:
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:
17, installment or lease payments:
17a Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule I, Your Income (Officiai Form 106l).
19. Other payments you make to support others who do not live with you.
Specify:
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. i\/lortgages on other property
20b. Real estate taxes
20c. Property, homeowner’s, or renter’s insurance
20d. Niaintenance, repair, and upkeep expenses
20e. Homeowner’s association or condominium dues
thcia| Form 106J Schedule J: Your Expenses

6a
6b.
60.

6d.

10.
11.

12.

13.

14.

15a.
15b.
150.

15d.

16.

17a
17b.
17c.

17d.

18.

19.

20a
20b.
200.
20d.

20e.

Your expenses

 

$
$
$
$
$
$
$
$
$

€6

69€£'&969

69'99999?

€6€6€9$$

 

350.0()
110.00

115.00
0.00

500.00
0.00
100.00
3.00

- 0.00

120.00

0.00
0.00

0.00
0.00

200.00
0.00

0.00

0.00
0.00
0.00
0.00

1,500.00
0.00
0.00
0.00
0.00

0.00
0.00

page 2

 

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Debtor 1 _C_alvin Antonio B_QLQ_|]MU]§ Case number (i/known)
Flrst Name Middle Name Last Name
21. Other. Specify: 21. +$ 0.00
22. Calcu|ate your monthly expenses. ’
22a. Add lines 4 through 21. 22a $ 5,184.00 §
22b. Copy line 22 (monthly expenses for Debtor 2)l if any, from Official Form 106J-2 22b. $ 0.00 5
22c Add line 222 and 22b. The result is your monthly expenses 22c $ 5,184_00 s
23. Calcu|ate your monthly net income. 0 00
23a. Copy line 12 Wour combined month/yincome) from Schedule /. 23a $ `
23b. Copy your monthly expenses from line 22c above, 23b. _ $ 5,184.00
2304 Subtract your monthly expenses from your monthly income.
. . $ -5,184.00
The result rs your monthly net lncome. 23c.
24. Do you expect an increase or decrease in your expenses within the year after you tile this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modihcation to the terms of your mortgage?
w No.
n YeS- Expiain here:
Official Form 106J Schedule J: Your Expenses page 3

 

 

Case 6:17-bk-08022-KS.] Doc 1 Filed 12/28/17 Page 36 of 63

Fill in this information to.identify your case:

Debtor 1 Calvin Antonio Baronvme
sti Name Middle Name Last Name

Debtor 2
(SpOUSe, if ftling) Firsl Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District Of Florida

Case number
(if known)

 

iii check ifthis is an
amended filing

 

 

Official Form 106Dec
Declaration About an individual Debtor’s Scheduies 12/15

 

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

MNO

n Yes. Name of person . Attach Bankruptcy Petitlon Preparer’s Notice, Dec/aration, and
Signature (Ofiicial Form 1 19).

Under penalty of perjury, i declare that l have read the summary and schedules filed with this declaration and

that they are true and correcttm
W»W"“W W`“

 

 

 

`Signature of Debtor 1 Signature of Debtor 2

Date
MM/ DD l YYYY

 

Official Form 106Dec Declaration About an individual Debtor's Scheduies

 

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Fill in this information to identify your case:

Debtor 1 _Qalvin Antonio
First Name Middle Name Last Name

Debtor 2
(Spouse, if t’iling) Firsr Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle Distrlc’t Of Florida

Case number . . .
(lfknown) l:l Check if this rs an

amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for individuals Fiiing for Bankruptcy 12/15

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this iorm. On the top of any additional pages, write your name and case
number (if known). Answer every question.

m Give Details About ¥our Marital Status and Where You Lived Before

 

1. What is your current marital status?

El l\/iarried
m Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

MNo

[J Yes. List ali of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor1 Debtor 2: Dates Debtor 2
lived there lived there
n Same as Debtor1 m Same as Debtor 1
From From
Number Street Number Street
To To
City State ZiP Code City State ZlP Code
E Same as Debtor1 m Same as Debtor 1
From From
Number Street Number Street
To To
City State ZlP Code City State ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and ten‘iton'es include Arizona, California, ldaho, Louisiana, Nevada, New i\/lexico, Puerto Rico, Texas, Washington, and VWsconsin.)

ENo

L_.l Yes. Make sure you fill out Schedule H: Your Codebtors (Oft`icial Form 106i~l).

W Expiain the Sources of Your income

Othciai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1

 

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Debtor 1 Case number (ir¢mewn)
First Name Middle Name Last Name

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses including part-time activities.
lt you are Hling a joint case and you have income that you receive together, list it only once under Debtor 1.
m No
KZi Yes. Fill in the details

_ Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check ali that apply. (before deductions and
exclusions) exclusions)

From January 1 of current year until w g:?]::':‘t’i'“s'mssi°"s' $ 70,000.00 n g:i:::?.mmissi°ns’ $
the date you filed for bankruptcy: ' p ___“"°' ' 'ps

m Operating a business n Operating a business

. m Wages commissions, n Wages, commissions
l . ’

For last ca endar year bonuses, tips $ 78,000.00 bonuses, tips $
(January 1 to December 31»2Y$YM?6_) cl Operating a business n Operating a business
For the calendar year before that w Weges, commissions, n Wages, commissions

bonusesl tips

bonuses, tips
(January1 to Deoember 31.$\9W_.1____5 ) n Operatinga business $M $

n Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxabie. Examples of other income are aiimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. lf you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separateiy. Do not include income that you listed in line 4.

MNo

Cl Yes. Fllr in the details

 

 

 

 

 

 

 

 

 

Debtor 1 Debtor 2
Sources of income Gross income from Sources of income Gross income from
Describe below. each 3°""°9 Describe below. each S°U"C€
(before deductions and (before deductions and
exclusions) exclusions)
From January 1 of current year until
the date you filed for bankruptcy:
For last calendar year: $ $
(January 1 to December 31,2016 )
YYYY
$
For the calendar year before that: $
(January 1 to December 31,2016 ) $
YYYY
$

 

 

Of&ciai Form 107 Statement of Financial Aftairs for individuals Fiiing for Bankruptcy page 2

 

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Debtor 1 Caivin Antonio Baronville Case number (”k,,ow,,)
First Name Middle Name Last Name

 

List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
m No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?

n No. Go to line 7.

l;l Yes. List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and aiimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment

m Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

n No. Go to line 7.
n Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony, Also, do not include payments to an attorney for this bankruptcy case.

 

 

 

Dates of Total amount paid Amount you still owe Was this payment for...
payment
4 $ $ n l\/lortgage
Creditors Name
m Car
Number Street m Credit card

l;l Loan repayment

 

m Suppliers or vendors

 

 

 

 

 

 

 

 

City State ZlP Code a Other
$ $ n Mortgage
Creditor's Name
cl Car
Number Street n Credit card
a Loan repayment
n Suppiiers or vendors
City stare zlP cede n Other
$ $ m Mortgage
Creditor's Name
n Car

n Credit card

 

Number Street

n Loan repayment

 

m Suppiiers or vendors
m Other

 

City State Z|P Code

Ofliclal Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

 

Debtor 1 galvin

First Name

Antonio Baronville

Last Name

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Case number (irknown)

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
/nsiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an ofticer, director, person in controi, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations
such as child support and alimony.

mNo

El Yes. List ali payments to an insider.

 

lnsldefs Name

 

 

Number Street

 

 

city

Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
State ZiP Code
$ $

 

insiders Name

 

Number Street

 

 

city

State ZiP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

include payments on debts guaranteed or cosigned by an insider.

MNo

El Yes. List all payments that benehted an insider.

Dates of
payment

 

lns|del‘s Name

 

Number Street

 

 

city

State ZlP Code

 

insiders Name

 

Number Street

 

 

city

Ofliclal Form 107

State ZlP Code

Total amount Amount you still Reason for this payment

Paid owe include creditor's name

Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

 

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Debtor 1 § §a|yj[] A[]IQ{]'|Q Bg[gg_y`||[§ Case number (irknown)
First Name Middle Name Last Name

ldentify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any |awsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modi&cations,
and contract disputes
|;l No
LZ Yes. Fiir in the detairs.

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
- COnfraCt Circuit Court of the 9th Judicial...
Case we Natronstar Mortgage, llc Court Name EZ Pendtng
. . Cl l
vs. Calvin Baronville, et. a|. 425 N_ orange Avenue O" appea
Number Street n Concluded
Case number 2017`0'°"000427'0 Gl'lal'ldO FL 32801
City State ZlP Code
Case title Court Name n Pending
n On appeal
Number Street m Concluded
Case number
City State ZlP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and till in the details below.

al No. Gotorine11.
El Yes. Fill in the information below.

Describe the property Date Value of the property

 

Creditor's Name

 

Number Street Expiain what happened

Cl Property was repossessed.

[.:l Property was foreclosed

m Property was gamished.

city state er code Ci Property was attached, seized, or ievied.

 

 

Describe the property Date Value of the property

 

Creditor's Name

 

Number Street
Expiain what happened

 

Property was repossessed.

Property was foreclosed,

Property was gamished.

Property was attached, seized, or levied.

 

City State ZiP Code

UUUU

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

 

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Debtor1 (;a|yjn Anfg;]ig Ba[g{]y`|||§ Case number (irr<nown)
First Name Middie Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

mNo

ill Yes. Fill in the detaiis.

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor's Name
Number Street $
Cifv State ZlP Code Last 4 digits of account number: XXXX-

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another officiai?

w No
l:l Yes

M List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

MNo

Cl Yes. Fi|i in the details for each gift.

 

 

 

 

 

Gifts with a total value of more than $GOD Describe the gifts Dates you gave Value
per person the gifts
g $
Person to Whom You Gave the Grft
$
Number Street
City State ZiP Code
Person’s reiationship to you
Gifts with a total value of more than $600 n Describe the gifts Dates you gave Value
per person the gifts
, $
Person to Whom Vou Gave the Grft
$

 

 

Number Street

 

City State ZlP Code

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 6

 

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Debtor1 _C_ajvin Ai'ltOrti()

Flrst Name Middle Name

Case number (irknown)
Last Name

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

 

m No
El Yes. Fill in the details for each gift or contributionl
Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
y $
Chanty's Name
$

 

 

Number Street

 

City State

m List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, tire, other
disaster, or gambling?

MNo

Ei Yes. Fill in the details

ZlP Code

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred _ _ , _ , loss lost
include the amount that insurance has pald. List pending insurance

claims on line 33 of Schedule A/B: Property.

List certain Payments or Transfers
l .

 

 

 

 

 

 

 

' 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attomeys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
g No
Ei Yes. r=ill in the details
Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid made
Number Street $
$
city state zlP code
Email or website address
Person Who Made the Paymeni, if Not You
Official Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 7

 

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Debtor 1 § ;alvin Antonio B_aLO_n_\Li]le Case number (irknown)
First Name Midi§e Name Last Name
Description and value of any property transferred Date payment or Amount of
transfer was made payment

Person Who Was Paid
$

Number Street
$

 

 

city stale ziP code i

 

Email or websile address

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNO

Ei Yes. Fill in the details.

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street $
$

 

 

City State ZiP Code

 

18. Within 2 years before you filed for bankruptcy, did you se|l, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement
w No
Ei Yes. Fill in the detaiis.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Reoeived Transfer

 

Number Street

 

 

City State ZiP Code

Person’s relationship to you

 

Person Who Reoeived Transfer

 

Number Street

 

 

City State ZlP Code

Person’s relationship to you

Ofnciai Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 8

 

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Debtor 1 § §a|yj[} Ag_tgn'|g Ba[ggyj||g Case number (iflmown)
First Name Middle Name Last Name

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

MNo

iii Yes. Fill in the details

Description and value of the property transferred Date transfer
was made

Name of trust

 

Part 8: List Certaln Flnanclal Accounts, lnstrumonts, Safo Deposlt Boxes, and Storage units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, soid, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions

mNo

Ei ves. Fill in the details.

 

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transferred
Name of Financial institution
XXXX- n Checking $
Number Street a Savings

m Money market

 

a Brokerage

 

 

 

City State ZiP Code n other
XXXX- l;l checking $
Name of Financial institution
n Savings
Number street n Money market

n Brokerage

 

El other

 

ley State ZlP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
w No
Ei Yes. Fill in the details

 

 

Who else had access to it? Describe the contents Do you still
have it?
cl No

Name of Financial institution Name n Yes

 

 

Number Street Number Street

 

 

City State ZlP Code

 

 

City l State ZiP Code

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 9

 

 

Case 6:17-bk-08022-KS.] Doc 1 Filed 12/28/17 Page 46 of 63

Debtor1 Caivin Antonio Baronvi|ie case number umwa
Firsi Name Middle Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
" m No y
El Yes. Fill in the details §

 

 

Who else has or had access to it? Describe the contents Do you still
have it?
El No
Name of Storage Facillty Name n Yes
Number Street Number Street

 

CityState ZlP Code

 

 

City State ZiP Code

m ldontlfy Property You Hold or control for Somoono Elso

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.
g No
Ei Yes. Fill in the details.
Where is the property? Describe the property Value

 

Owner's Name $

 

* Street

 

Number Street

 

 

 

City State ZiP Code

 

 

city state zlP code
m Give Detalls About Environmental lnformation

For the purpose of Part 10, the following definitions apply:

a Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soi|, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

a Site means any location, facility, or property as defined under any environmental iaw, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

a Hazardous material means anything an environmental law defines as a hazardous waste, hazardous subswnce, toxic
substance, hazardous materia|, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

MNo

El Yes. Fill in the details.

 

 

Governmental unit Environmental iaw, if you know it Date of notice
Name of site Govemmental unit
Number Street Number Street

City State ZlP Code

 

 

City State ZlP Code

Ochiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 10

 

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Debtor 1 § ;a|ng Amgmg Bg[gnyj|le Case number (ifkndwn)
Fitst Name Middle Name Last Name

25. Have you notified any governmental unit of any release of hazardous material?

MNo

Cl Yes. Fill in the detailsh

 

 

 

Governmentai unit Environmental iaw, if you know it Date of notice
Name of site Govemmental unit k
§ Number Street Number Street
;
§
/ city state zlP code

 

 

§ cliy state zlP code

26.Have you been a party in any judicial or administrative proceeding under any environmental iaw? include settlements and orders.

mNo

E.i Yes. Fill in the detailsl

 

 

 

 

 

Court or agency Nature of the case :;;:'s of the
Case title
Court Name a Pendmg
n On appeal
Number Street n Concluded
case number city state zlP code

m Give Dotails About Your Buslness or Connections to Any Buslness

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
a A member of a limited liability company (LLC) or limited liability partnership (LLP)
n A partner in a partnership
n An officer, director, or managing executive of a corporation

 

m An owner of at least 5% of the voting or equity securities of a corporation

w No. None of the above applies. Go to Part12.
n Yes. Check all that apply above and till in the details below for each business.
Describe the nature of the business Empioyer identification number
Do not include Social Security number or |TiN.

 

f Business Name

 

 

 

E|N ______-___________________
§ Number Street
Name of accountant or bookkeeper Dates business existed
§
From To
j city state zlP code
§ Describe the nature of the business Empioyer identification number

 

§ Do not include Social Security number or iTIN.
§ Buslness Name

 

 

 

 

§ EiN:______-_______________________
§ Number Street

§ Name of accountant or bookkeeper Dates business existed

l

§ From To

City State ZiP Code

Official Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 11

 

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Debtor 1 g;a|yin goman Ba[gnyjllg Case number (ifkndwn)
Flrst Name Middle Name Last Name

Describe the nature of the business Emp'°yer lde“t'ncat'°" number
§ Do not include Social Security number or |TiN.

Business Name

 

 

 

EiN'_____'-_______________
Number Street Name of accountant or bookkeeper Dates business existed
From To

 

City State ZiP Code

l

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include ali financial
institutions, creditors, or other parties.

mNo

ill Yes. Fill in the details below.

Date issued

 

Name MM / no / Yva

 

Number Street

 

 

City State ZlP Code

 

 

 

l
l

l l have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the
answers are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy`ca§e - ~ result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 13 ,1519, and 3571;/ t

   
 
 

 

&l?/ x

Signature of Debtor 1 Signature of Debtor 2

 

 

' Date Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Officiai Form 107)?

MNo

i;.i Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

MNO

a Yes. Name of person . Attach the Bankruptcy Petition Prepaler's Notice,
Declaration, and Signature (Ofiiciai Form 119).

 

Official Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 12

 

 

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Fill in this information to identify yourcase:

 

 

Debtor 1 j ;a|Vin Antonio R

First Name Middle Name Last Name
Debtor 2
(Spouse, if§|ing) Firsi Name Middie Name Lasi Name

United States Bankruptcy Court for the: Middle District of Florida

Case number n CheCk if this lS an
(lrl<nown) amended ii|ing

 

 

Official Form 108
Statement of intention for individuals Filing Under Chapter 7 12/15

 

if you are an individual filing under chapter 7, you must fill out this form if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

if two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. Cin the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property(Officia| Form 106D), fill in the
information below.

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditor's _
namer Natlonsstar Mongage, LLC [J Surrender the properiy. Cl No
‘ . D Reiain the property and redeem it. iii Yes
D;S;;'r§mon of (Primary residence) 669 Wooster DriVe M Reiain the property and enter into a
gecun~n; debt OCOee, FL 34761 Reafrirmation Agreement.

ij Retain the property and [exp|ain]:

 

Credit,mls m Surrender the property. E] No
name., _ i:l Reiain the property and redeem it. C| Yes
E;:(::§,;lon Of Ci Reiain ihe_property and enter into a

securing debt Reafflnnatlon Agreement.

L_.i Reiain the property and [exp|ain]:

 

CrediiOV’S cl Surrender the properiy. m NO
name:

n Reiain the property and redeem it. Ci Yes

5§;(;:§;;|0“ of El Reiain the property and enter into a

securing debt Reaffirmation Agreement.
l;] Reiain the property and [exp|ain]:

 

CredlfOr’S m Surrender the property. n NO
name:

n Reiain the property and redeem it. l:i Yes

:;;:r:§);'on of Ei Reiain the property and enter into a

securing debt Reaffirmation Agreement.
[J Reiain the property and [exp|ain]:

 

Official Form 108 Statement of intention for individuals Filing Under Chapter 7 page 1

 

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Debtor1 § ;a|yjn A[]jgmg Ba[g[\yi||g Case number (lfknown)
First Name Middle Name Last Name

List Your Unexpired Personai Property Leases

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Olficia| Form 1066),
till in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?

Lessor“s name: |;\ No
Cl

Description of leased Yes

property:

l.essoi’s name: [J No

Description of leased n Yes

property:

Lessofs name: [] No

Description of leased n Yes

property:

Lessor's name: [] No
l;i Yes

Description of leased

property:

Lessor‘s name: n No
Cl Yes

Description of leased

property:

Lessor’s name: [.;l No

. U Yes

Descrlption of leased

property:

Lessofs name: L__| No
Ci Yes

Description of leased
property:

Sign Below
M.,M/’ WWWWWWW MM%`
Under penalty of/perjury, l declar that l have indicated my intention about any property of my estate that secures a debt and any

7op”érty that is sub t o an unexpired |ease.
j,f W ,,/,
X

Signature of Debtor 2

 
      

 

 

Date
MMl DD/ YYYY

Official Form 108 Statement of intention for individuals Filing Under Chapter 7 page 2

 

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Check one box only as directed in this form and in
Form 122A-1Supp:

Fill in this information to identify your case:’

     
   

Calvin Antonio Baronville
First Name Middle Name Last Name

Debtor 1

 

  
       
     

1. There is no presumption of abuse.
Debtor 2

(Spouse, if fliing) Firs\ Name Middle Name Last Name

 

Cl 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7

United States Bankruptcy COi.lii fOl’ fhej Middle DiSil`iCi Of FiOi`ida Means Test Calculatl'on (Ofnc'la\ Form 122A_2)

Case number
(if known)

 

[] 3. The Means Test does not apply now because of
qualihed military service but it could apply later.

 

 

 

ill check ii this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthiy income 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. if more
space is needed, attach a separate sheet to this form. include the line number to which the additional information applies. 0n the top of any
additional pages, write your name and case number (if known). if you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Officiai Form 122A-1Supp) with this form.

 

 

Calcu|ate Your Current Monthiy income

 

1. What is your marital and filing status? Check one only.
§ m Not married. Fill out Column A, lines 2-11.
Ci Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

n Married and your spouse is NOT filing with you. You and your spouse are:
l;i Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

Cl Living separately or are legally separated Fill out Column A, lines 2-11; do not ill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September15, the 6-month period would be March 1 through
August 31. if the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. if you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions 0 00
(before all payroll deductions). $_-_.. $

 

 

3. A|imony and maintenance payments. Do not include payments from a spouse if 0 00
column B is niied in. $ ' $
4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support include regular contributions
from an unmarried partner, members of your househoid, your dependents, parents,
and roommates. include regular contributions from a spouse only if Column B is not 0 00
ni|ed in. Do not include payments you listed on line 3. $---_’ $
5. ;l:z;;r:‘.ome from operating a business, profession, Debtor1 Debtor 2
l
Gross receipts (before all deductions) $,____ $______
l Ordinary and necessary operating expenses - $ - $
Net monthly income from a business, profession, or farm $ 0.00 $ 0.00 ::r';y_) $ 0.00 $ 0.00
, 6. Net income from rental and other real property Debtor1 Debtor 2
Gross receipts (before all deductions) $ $
Ordinary and necessary operating expenses - $ - $
Net monthly income from rental or other real property $ ()_OO $ O_OO :g:}y_) $ O_O() $ O_OO
7. interest, dividends, and royalties $ 0.00 $

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthiy income page 1

 

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Debtor 1 Calvm Antomo Baronv§"e Case number (irknawn)
First Name Middle Name Last Name
Column A Column B
Debtor1 Debtor 2 or
non-filing spouse
8. Unempioyment compensation $ 0.00 $

 

5 Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. lnstead, list it here: ...............................

For you .................................................................................. $
For your spouse ................................................................... $

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. $ O-OO $

10. income from ali other sources not listed above, Speciiy the source and amount
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. if necessary, list other sources on a separate page and put the total below.

s 0.00 s
0.00 s

Total amounts from separate pages, if any. + $ 0.00 + $ 0.00

 

 

 

 

 

 

11. Calcu|ate your total current monthly income. Add lines 2 through 10 for each l + § _
column. Then add the total for ColumnAio the total for Column B. $ 0.00§ § $ 0.00 §" $ 0.00

 

 

 

 

Total current
§ monthly income

m Determine Whether the Means Test Applies to You

 

12. Calcu|ate your current monthly income for the year. i-‘ollow these steps:

12a Copy yourtotal current monthly income from line 11. .................................................................................. Copy line 11 here') § $ 0.00 §
Multiply by 12 (the number of months in a year). X 12
12b. The result is your annual income for this part of the form. 12b. $____O_._O_O

13. Caiculate the median family income that applies to you. Follow these steps:
i

 

Fill in the state in which you live. § Florida §
Fill in the number of people in your household. § 2 §
Fill in the median family income for your state and size of household ............................................................................................. 13. $MQP

 

 

 

To iind a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's offioe.

14. How do the lines compare?

14a. Line 12b is less than or equal to line 13. On the top of page i, check box 1, There is no presumption of abuse
Go to Part 3.

 

14b l;i Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Fomi 122A-2.
§ Go to Part 3 and fill out Form 122A-2.

By signin here. l declare updei::ai-t»? pen of perjury that the information on this statement and in any attachments is true and correctl

// ae¢?f x

 

 

 

 

 

§ igna€;re of Debtor 1 Signature of Debtor 2
Date /% §_/_Z;[ Z:£Q/ 7 Date
M /DD /YYYY MM/DD /YYYY

if you checked line 14a, do NOT fill out or me Form 122A-2.
ii you checked line 14b, iill out Form 122A-2 and tile it with this forrn.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthiy income page 2

 

Case 6217-bi<-08022-KS.] DOC 1 Filed 12/28/17

Fill in this information to identify your case:

Antonio
Middle Name

Baronville
Last Name

Caivin

First Name

Debtor 1

 

Debtor 2
(Spouse, if filing) Firsi Name

 

Middle Name Last Name

United States Bankruptcy Court for the: Middle DiStriCi Of Florida

Case number
(|f known)

 

 

Official Form 122A-2

 

Chapter 7 Means Test Caicuiation

Page 53 of 63

  

Check the appropriate box as directed in
lines 40 0r'422

    
     
   
   

  

According to the calculations required by
this Statement:

1. There is no presumption of abuse.

n 2. There is a presumption of abuse.

 

i:| check ii this is en amended filing

12/15

 

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthiy income (Official Form 122A-1).

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. if more space
is needed, attach a separate sheet to this form. include the line number to which the additional information applies. On the top of any additional

pages, write your name and case number (if known).

m Determine Your Adjusted income

 

l
i

2. Did you nil out column B in Part1 dr Form 122A-1?
[:l Nd. Fill in $0 willie lolel on line 3.
|:l Yes. is your spouse filing with you?
I:i No. en lo line 3.
l:l Yes. Fill in so for the total on line 3.

household expenses of you or your dependents Follow these steps:

. Copy your total current monthly income. ............................................................... Copy line 11 from Official Form 122A-1 here') ........... $

Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the

On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT

regularly used for the household expenses of you or your dependents?

i:i No. Fill in 0 for lne total on line 3.
m Yes. Fill in the information below:

State each purpose for which the income was used

For example, the income is used to pay your spouse's tax debt or to support
people other than you or your dependents

Fill in the amount you
are subtracting from
your spouse’s income

 

 

+$

 

Total ................................................................................................. $ O-OO

4. Adjust your current monthly income. Subtract the total on line 3 from line 1.

thcial Form 122A-2 Chapter 7 Means Test Calcu|ation

Copy total here ............... 9 0 ' 00

 

 

 

 

page 1

 

 

 

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. An . .
Debtor 1 Calvm tomo Baronville Case number (iiknewni
Firsl Name Middle Name Last Name

 

m Calcu|ate Your Deductions from Your income

The internal Revenue Service (lRS) issues National and Locai Standards for certain expense amounts. Use these amounts to
answer the questions in lines 6-15. To find the lRS standards, go online using the link specified in the separate instructions for
this form. This information may also be available at the bankruptcy clerk’s office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense ln later parts of the form, you will use some of your
actual expenses if they are higher than the standards Do not deduct any amounts that you subtracted from your spouse’s income in line 3
l and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A-1.

lt your expenses differ from month to month, enter the average expense

Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A-1 is nlled in.

5. The number of people used in determining your deductions from income

Fill in the number of people who could be claimed as exemptions on your federal income tax return,
plus the number of any additional dependents whom you support This number may be different from
the number of people in your household

National Standards You must use the lRS National Standards to answer the questions in lines 6-7.

6. Food, clothing, and other items: Using the number of people you entered in line 5 and the lRS National Standards, fill
§ in the dollar amount for food, clothing, and other items. $

7. Out-of-pocket health care allowance'. Using the number of people you entered in line 5 and the lRS National Standards,
Hl| in the dollar amount for out-of-pocket health care. The number of people is split into two categories-people who are
under 65 and people who are 65 or older-because older people have a higher lRS allowance for health care oosts. lf your
actual expenses are higher than this lRS amount, you may deduct the additional amount on line 22.

People who are under 65 years of age

7a. Out-of-pocket health care allowance per person

7b. Number of people who are under 65

X _____
7e. subteeli. ivluliiply line 7a by line 7e. $ 0-00 copy nere-) $ O-OO
People who are 65 years of age or older
7d. Out-of-pocket health care allowance per person
l 7e. Number of people who are 65 or older X
7i. subtetal. Mulliply line 7a by line 7e. $ O-OO copy nere-) + $ 0_00

 

 

 

i
l

7g. Total. Add lines 70 and 7f ......................................................................................

 

$___M_ §Copy total here‘!) $ 0,00

 

 

 

Official Form 122A~2 Chapter 7 Means Test Calcu|ation page 2

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Calvin An o ' `
Debtor1 t mo Baronville Case number iiiknewni
Flrst Name Middle Name Last Name

Locai Standards You must use the lRS Locai Standards to answer the questions in lines 8-15.

Based on information from the lRS, the U.S. Trustee Program has divided the lRS Locai Standard for housing for
bankruptcy purposes into two parts:

l Housing and utilities - insurance and operating expenses
l Housing and utilities - Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Frogram chart.

To find the chart, go online using the link specified in the separate instructions for this form.
This chart may also be available at the bankruptcy clerk’s office.

8. Housing and utilities - insurance and operating expenses: Using the number of people you entered in line 5, fill in the
dollar amount listed for your county for insurance and operating expenses ........................................................................ $

9. Housing and utilities - Mortgage or rent expenses:

9e. Using the number of people you entered in line 5, fill in the dollar amount listed
for your county for mortgage or rent expenses ....................................................................... $

9b,Total average monthly payment for all mortgages and other debts secured by your home.

To calculate the total average monthly payment, add all amounts that are
contractually due to each secured creditor in the 60 months after you tile for
bankruptcy, Then divide by 60.

 

 

 

 

 

 

 

 

 

 

 

 

 

Name of the creditor Average monthly
payment
$
$
+ $
C Repeat this
l Total average monthly payment $ 0.00 opy _ $ 0.00 amount en
11 here_) line 33a.
§
9e. Net mortgage or rent expense.
Subtract line 9b (total average monthly paymenf) from line 9a (mortgage or $ 0.00 C°py $
rent expense). if this amount is less than $0, enter $0. .................................................................. he'e')
10. if you claim that the U.S. Trustee Program’s division of the lRS Locai Standard for housing is incorrect and affects $
the calculation of your monthly expenses, fill in any additional amount you ciaim.
Expiain
why:

 

11.Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense

l:] o.eeleline14.
m 1.Go to line 12.
i:] 20rmore. Go to line12.

12. Vehicle operation expense: Using the lRS l_ocal Standards and the number of vehicles for which you claim the
operating expenses, fill in the Operafing Costs that apply for your Census region or metropolitan statistical area. $

 

Official Form 122A-2 Chapter 7 Means Test Calcu|ation

0.00

page 3

 

 

Case 6:17-bk-08022-KS.] Doc 1 Filed 12/28/17 Page 56 of 63

Calvin Antonio Baronville

Debtor 1

 

Firsl Name Middle Name Last Name

Vehicle 1 Describe Vehicle 1:

Case number (ifl<nown)

13. Vehicle ownership or lease expense: Using the lRS Locai Standards, calculate the net ownership or lease expense
for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle
ln addition, you may not claim the expense for more than two vehicles.

 

 

Do not include costs for leased vehicles

after you filed for bankruptcy, Then divide by 60.

 

§ Name of each creditor for Vehicle 1

13b. Average monthly payment for all debts secured by Vehicle 1.

To calculate the average monthly payment here and on line 13e, add ali
amounts that are contractually due to each secured creditor in the 60 months

Average monthly

 

 

 

 

 

 

13a. Ownership or leasing costs using lRS Locai Standard ...................................................

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

000

0.00

payment
$
+ $
c Repeat this
Total average monthly payment $ 0-00 °py - $ 0.00 amount on
here-z line 33b.
l _ _ Copy net
' 13e Net Vehicle 1 ownership or lease expense vehicge1
Subtract line 13b from line 13a. lf this amount is less than $0, enter $0. ............................. $____.__.Q_'_OQ_ expense
here ..... ") $_____.._;
Vehicle 2 Describe Vehicle 2:
13d. Ownership or leasing costs using lRS Locai Standard. ................................................. $
13e. Average monthly payment for all debts secured by Vehicle 2.
Do not include costs for leased vehicles,
Name of each creditor for Vehicle 2 Average monthly
payment
$
+ $
copy Repeat this
Total average monthly payment $ 0 here_) - $ 0 :rn;o;i§;on
. . Copy net
13f. Net Vehicle 2 ownership or lease expense 0 00 vehicle 2
Subtract line 13e from 13d. if this amount is less than $O,i enter $0 ...................................... $ ‘ expense
here 9 $__
§ 14. Pub|ic transportation expense: if you claimed 0 vehicles in line 11, using the lRS Locai Standards, fill in the
Pub/ic Transportation expense allowance regardless of whether you use public transportation $
15. Additional public transportation expense: if you claimed 1 or more vehicles in line 11 and if you claim that you may also
l deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
§ more than the lRS Locai Standard for Public Transportation. $
Ochial Form 122A-2 Chapter 7 Means Test Calcu|ation page 4

 

 

 

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.n . .
Debtor 1 Caw' Antomo Baronville Case number (irknewn)
First Name Middle Name Lasl Name

Other Necessary Expenses in addition to the expense deductions listed above, you are allowed your monthly expenses for
the following lRS categories

16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self~
employment taxes, Social Security taxes, and Medicare taxes You may include the monthly amount withheld from your
pay for these taxes However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
subtract that number from the total monthly amount that is withheld to pay for taxes

Do not include real estate, sales, or use taxes

17. involuntary deductions: The total monthly payroll deductions that yourjob requires such as retirement contributions
union dues, and uniform costs

Do not include amounts that are not required by yourjob, such as voluntary 401(k) contributions or payroll savings

18. Life insurance: The total monthly premiums that you pay for your own term life insurance |f two married people are filing
together, include payments that you make for your spouse’s term life insurance Do not include premiums for life
insurance on your dependents for a non-ming spouse’s life insurance, or for any form of life insurance other than term,

19. Court-ordered payments The total monthly amount that you pay as required by the order of a court or administrative
agency, such as spousal or child support payments.

Do not include payments on past due obligations for spousal or child support You will list these obligations in line 35.

20. Education: The total monthly amount that you pay for education that is either required:
l as a condition for yourjob, or
l for your physically or mentally challenged dependent child if no public education is available for similar services

21. Chiidcare: The total monthly amount that you pay for childcare, such as babysitting, daycarel nursery, and preschool.
Do not include payments for any elementary or secondary school education.

22 Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
health savings account. include only the amount that is more than the total entered in line 7.

Payments for health insurance or health savings accounts should be listed only in line 25.

23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
you and your dependents such as pagers, call waiting, caller identitication, special long distance, or business cell phone
service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it +
is not reimbursed by your employer.

Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
expenses such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

 

24. Add all of the expenses allowed under the lRS expense allowances
Add lines 6 through 23.

 

$ 0.00

 

 

Official Form 122A-2 Chapter 7 Means Test Caiculation

page 5

 

 

 

 

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Debtor 1 Calvm Antomo Baronv|"e Case number (irknewn)

Firsl Name Middle Name Last Name

Additional Expense Deductions These are additional deductions allowed by the Means Test.
Note: Do not include any expense allowances listed in lines 6-24.

l 25. Heaith insurance, disability insurance, and health savings account expenses The monthly expenses for health
insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
dependents

Heaith insurance
Disability insurance

Heaith savings account +

 

WM€%W

Total __M Copy total here') ..................................... $ 0'00

 

 

 

Do you actually spend this total amount?

l:i No. How much do you actually spend? $

m Yes

26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
continue to pay for the reasonable and necessary care and support of an elderly, chronically i|i, or disabled member of $
your household or member of your immediate family who is unable to pay for such expenses These expenses may
include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety
of you and your family under the Famiiy Violence Prevention and Services Act or other federal laws that apply. $

By iaw, the court must keep the nature of these expenses confidential

28. Additional home energy costs Your home energy costs are included in your insurance and operating expenses on line 8.

if you believe that you have home energy costs that are more than the home energy costs included in expenses on line
8, then h|l in the excess amount of home energy costs $

You must give your case tmstee documentation of your actual expenses and you must show that the additional amount
claimed is reasonable and necessary.

29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $156.25*
per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
elementary or secondary school. $

You must give your case trustee documentation of your actual expenses and you must explain why the amount claimed is
reasonable and necessary and not already accounted for in lines 6~23.

* Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment

30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are $
higher than the combined food and clothing allowances in the lRS National Standards. That amount cannot be more than
5% of the food and clothing allowances in the lRS National Standards.

To hnd a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
this form. This chart may also be available at the bankruptcy clerk’s office.

You must show that the additional amount claimed is reasonable and necessary

 

 

31 . Continuing charitable contributions The amount that you will continue to contribute in the form of cash or financial + $
instruments to a religious or charitable organization 26 U.S.C. § 170(c)(1)-(2).
32. Add all of the additional expense deductions $ O. 30

Add lines 25 through 31.

 

 

 

Official Form 122A-2 1 f Chapter 7 Means Test Calcu|ation f f y f page 6

 

 

Debtor 1

 

Ofliclal Form 122A-2

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Calvin

Flrat Name

Baronville

Last Name

Antonio
Mlddle Name

 

 

 

 

 

Case number (ifi<nawn>

 

 

 

Chapter 7 Means Test Calcu|ation

page 7

 

Deductions for Debt Payment
33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
loans, and other secured debt, fill in lines 33a through 33e. §
To calculate the total average monthly payment, add all amounts that are contractually due to each secured
creditor in the 60 months after you tile for bankruptcy Then divide by 60.
Average monthly
Mortgages on your home: payment §
33a. Copy line 9b here ................................................................................................................ 9 $ O-OO §
Loans on your first two vehicles: §
33b. Copy line 13b here. ............................................. 9 $________M §
330. Copy line 13e here. ........................................................................................................... 9 $ 0
33d. List other secured debts: l
Name of each creditor for other identify property that Does payment
secured debt secures the debt include taxes §
or insurance? §
l:.| No $
§ m Yes
|:l No $
‘ m Ves
l:l No §
+
n Yes $
§ Copy total ’
33a. Total average monthly payment Add lines 33a through 33dz $ O-OO here_) $ 0.00
§ 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
. or other property necessary for your support or the support of your dependents?
\:I No. Go to line 35. §
m Yes. State any amount that you must pay to a creditorl in addition to the payments
listed in line 33, to keep possession of your property (called the cure amount).
Next, divide by 60 and fill in the information below.
Name of the creditor ldentify property that Total cure Monthly cure ~,
secures the debt amount amount
$ + 60 = $ 0.00
§ $ + 60 = $ 0.00
l $ + 60 = + $ 0.00 §
i l
§ 0 0 ;COpy total 000 §
Total § $_________________ §here,) $______
35. Do you owe any priority claims such as a priority tax, child support, or alimony -
that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
[:l No. Go to line 36. §
I:I Yes. Fill in the total amount of all of these priority claims. Do not include current or
ongoing priority claims, such as those you listed in line 19. §
Total amount of all past~due priority claims ................................................................. $ + 60 ___ $ 000

 

 

 

 

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Debtor 1 Calvm Antomo Baronv'"e Case number (ifknawn)

First Name Middle Name Last Name

36. Are you eligible to tile a case under Chapter 13? 11 U.S.C. § 109(e).
For more information, go online using the link for Bankruptcy Basics specified in the separate
instructions for this form. Bankruptcy Basics may also be available at the bankmptcy clerk’s ottice.

|:] No. Go to line 37.
m Yes. Fill in the following information.

Projected monthly plan payment if you were hling under Chapter 13 $

Current multiplier for your district as stated on the list issued by the

Administrative Oftioe of the lJnited States Courts (for districts in Alabama and

North Carolina) or by the Executive Oftice for United States Trustees (tor all

other districts). X

To find a list of district multipliers that includes your district, go online using the
link specitied in the separate instructions for this form. This list may also be
available at the bankruptcy clerk’s oflice.

 

ic t tax
Average monthly administrative expense if you were tiling under Chapter 13 l $ 0-00 §h;l;y_)o $ O-OO
l l
37. Add all of the deductions for debt payment $ 0.00
Add lines 33e through 36. ..............................................................................................................................................................

 

 

 

Total Deductions from Income

38. Add all of the allowed deductions

Copy line 24, All of the expenses allowed under lRS $ 0§0()
expense allowances ..................................................................... -~_
Copy line 32, A// anne additional expense deductions .......... s O-OO
Copy line 37, All of the deductions for debt payment ............. + $ 0.00
Total deductions § $______9_-_@__ § Copy total here ............................... 9 $_0.0 3
t

§

m Determine Whether There ls a Presumption of Abuse

39. Calcu|ate monthly disposable income for 60 months

 

 

 

39a. Copy line 4, adjusted current monthly income ..... $
39b. Copy line 38, Total deductions .......... - $ 0-00
390, Monthiy disposable income. 11 U.S.C. § 707(b)(2). $ 0_00 § Copy $ 0_00
subtract line 39b from line 39a. § -_ § hare-) __
For the next 60 months (5 years) ................ .. ................ X 60
§ §
t § C
39dl Total. Mump\y line aec by 60. .................................................................................................................. § $ 9-00 §h;’r';y_) $ 0 00

 

 

 

40. Find out whether there is a presumption of abuse. Check the box that applies:

w The line 39d is less than $7,475*. On the top of page 1 of this form, check box 1l There is no presumption of abuse. Go
to Part 5.

l;l The line 39d is more than $12,475*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You l
may till out Part 4 if you claim special circumstancesl Then go to Part 5.

 

[:] The line 39d is at least $7,475*, but not more than $12,475*. Go to line 41.

* Subject to adjustment on 4lO1/16, and every 3 years after that for cases filed on or after the date of adjustment

Official Form 122A-2 Chapter 7 Means Test Calcu|ation page 8

 

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Calvin Antonio Baronville
First Name Middle Name Last Name

Debtor 1 Case number (irknawn)

 

41. 41a. Fill in the amount of your total nonpriority unsecured debt. lf you filled out A
Summary of YourAssets and Liabilities and Certain Statistica/ lnr'ormation Schedules
(Of&cial Form 1068um), you may refer to line 3b on that form ............................................................

$
x .25
41b. 25% of your total nonpriority unsecured debt. 11 U.S.Cr § 707(b)(2)(A)(i)(l). , 0 00
Murtipry line 41a by 0.25. .......................................................................................................................... $_`~

42. Determine whether the income you have left over after subtracting all allowed deductions
is enough to pay 25% of your unsecured, nonpriority debt.

Check the box that applies:

m Line 39d is less than line 41 b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
Go to Part 5.

m Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption

of abuse. You may till out Part 4 if you claim special circumstances Then go to Part 5.

Give Details About Special Circumstances

‘ 43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no

reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

l:| No. Go to Part 5.

l:| Yes. Fill in the following information. All hgures should reflect your average monthly expense or income adjustment
for each item. You may include expenses you listed in line 25.

You must give a detailed explanation of the special circumstances that make the expenses or income
§ adjustments necessary and reasonable You must also give your case trustee documentation of your actual
' expenses or income adjustments

Give a detailed explanation of the special circumstances

 

s

 

$

 

 

Sign Below

§ Copy

here")

Average monthly expense
or income adjustment

 

.DO~

 

 

 

 

 

 

By signing here l declare under pena|fy?of/per}ury that the information on this statement and rn any attachments' rs true and correct.

 

Signature of Debtor 1 Signature of Debtor 2
Date [|JMZ? g a`?zF/' 2 Date
M /DD /YYYY MM/DD /YYYY

Official Form 122A~2 Chapter 7 Means Test Calculation

 

 

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UNITED STATES BANKRUPTCY COURT
Middle District of Florida

In re; Calvin Antonio Baronville Case No: (if known)
Chapter 7

 

Debtor(s)

VERIFICATION OF CREDITOR MATRIX

The above named Debtor(s) hereby verifies that the attached list of creditors is
true and correct to the best of my/their knowledge

 

 

Debtor Calvin f Antonio Baronville

Date:

 

Joint Debtor

 

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Creditor Matrix

Calvin Antonio Baronville

Enhanced Recovery Corp.
4800 Spring Park Road
Jacksonville, FL 32207

NationsStar Mortgage, LLC
8950 Cypress Waters Blvd.
Coppell, TX 75019

McCorrnick Woods I-IOA, Inc.
4700 Millenia Blvd., Suite 515
Ortando, FL 32839

Dan Cumrnins
8950 Cypress Waters Blvd.
Coppell, TX 75019

Circuit Court of the 9th Judicial Circuit, Orange Co., Florida
425 N. Orange Avenue
Grlando, FL 32801

Scot Peschansky, Esq.
6501 Congress Avenue, Suite 240
Boca Raton, FL 33487

USA on Behalf of Secretary of Housing & Urban Develop.
400 N. Tampa Street, Suite 3200
Tampa, FL 33602

Marinosci LaW Group, P.C.
100 West Cypress Creek Road, Suite 1045
Fort Lauderdale, FL 33309

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